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1A
 101-7-TDR
 /2010
 /2009
 2ems Inc.
                                                UNITED STATES BANKRUPTCY COURT
                                                NORTHERN DISTRICT OF NEW YORK
                                                        ALBANY DIVISION


              In re:                                              §
                                                                  §
              NOTTINGHAM VILLAGE                                  §     Case No. 09-13311
              DEVELOPMENT CORP                                    §
                                                                  §
                                  Debtor                          §

                              CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION
                              REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY
                              ADMINISTERED AND APPLICATION TO BE DISCHARGED (TDR)

                      MARC S. EHRLICH, chapter 7 trustee, submits this Final Account, Certification that the
              Estate has been Fully Administered and Application to be Discharged.

                      1) All funds on hand have been distributed in accordance with the Trustee’s Final Report
              and, if applicable, any order of the Court modifying the Final Report. The case is fully
              administered and all assets and funds which have come under the trustee’s control in this case
              have been properly accounted for as provided by law. The trustee hereby requests to be
              discharged from further duties as a trustee.

                     2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims
              discharged without payment, and expenses of administration is provided below:


              Assets Abandoned: 875,500.00                              Assets Exempt: NA
              (Without deducting any secured claims)

              Total Distributions to Claimants: 5,247.67                Claims Discharged
                                                                        Without Payment: NA

              Total Expenses of Administration: 301,501.87


                      3) Total gross receipts of $ 688,207.68 (see Exhibit 1), minus funds paid to the debtor
              and third parties of $ 381,458.14 (see Exhibit 2), yielded net receipts of $ 306,749.54 from the
              liquidation of the property of the estate, which was distributed as follows:




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                                                    CLAIMS           CLAIMS                CLAIMS                CLAIMS
                                                  SCHEDULED         ASSERTED              ALLOWED                 PAID



SECURED CLAIMS
(from Exhibit 3)                                   $ 1,047,300.00    $ 311,008.46           $ 311,008.46                  $ 0.00

PRIORITY CLAIMS:
  CHAPTER 7 ADMIN. FEES
  AND CHARGES
  (from Exhibit 4)                                            NA       301,098.67             301,098.67            301,098.67

PRIOR CHAPTER
  ADMIN. FEES AND
  CHARGES (from Exhibit 5)                                    NA            403.20                403.20                 403.20

  PRIORITY UNSECURED
  CLAIMS (from Exhibit 6)                                     NA            682.06                682.06                 682.06

GENERAL UNSECURED
CLAIMS (from Exhibit 7)                               152,750.00      1,354,799.22          1,354,799.22                4,565.61

TOTAL DISBURSEMENTS                                $ 1,200,050.00   $ 1,967,991.61        $ 1,967,991.61          $ 306,749.54


                 4) This case was originally filed under chapteron 09/02/2009 , and it was converted to
          chapter 7 on 05/26/2010 . The case was pending for 87 months.

                 5) All estate bank statements, deposit slips, and canceled checks have been submitted to
          the United States Trustee.

                  6) An individual estate property record and report showing the final accounting of the
          assets of the estate is attached as Exhibit 8. The cash receipts and disbursements records for each
          estate bank account, showing the final accounting of the receipts and disbursements of estate
          funds is attached as Exhibit 9.

                 Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
          foregoing report is true and correct.

          Dated: 07/07/2017                          By:/s/MARC S. EHRLICH
                                                                                Trustee
          STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
          exemption 5 C.F.R. § 1320.4(a)(2) applies.




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                                                           EXHIBITS TO
                                                         FINAL ACCOUNT


           EXHIBIT 1 – GROSS RECEIPTS

                          DESCRIPTION                               UNIFORM                         $ AMOUNT
                                                                   TRAN. CODE1                      RECEIVED

83 Acres of vacant land (under blanket mortgage
wi                                                                   1110-000                             10,000.00

PREFERENTIAL TRANSFER AGAINST
FRANK CARIDI                                                         1141-000                              5,000.00

EASEMENT IN REAL PROPERTY
                                                                     1210-000                              5,000.00

ACCOUNTS RECEIVABLE                                                  1221-000                               268.04

TIME SHARE NOTES RECEIVABLES
                                                                     1221-000                             24,521.05

                RENTS                                                1222-000                              3,900.00

              TAX REFUNDS                                            1224-000                               971.91

               2007 GMC                                              1229-000                             13,000.00

           DIP Account Closeout                                      1229-000                              2,707.46

INTERESTS IN INSURANCE POLICIES
                                                                     1229-000                             23,218.24

            PERSHING SECURITIES                                      1229-000                               100.90




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                         DESCRIPTION                               UNIFORM                         $ AMOUNT
                                                                  TRAN. CODE1                      RECEIVED

STOCK INTEREST IN SUBSIDIARY
CORPORATIONS                                                        1229-000                              10,000.00

ADVERSARY FILED AGAINST ROSARIO
CARIDI                                                              1241-000                               2,500.00

AMERICAN EXPRESS POST PETITION
TRANSFER                                                            1241-000                               1,695.75

BANK OF AMERICA 549 AVOIDANCE
                                                                    1241-000                               2,071.00

HOLLAND & KNIGHT AVOIDANCE ACTION
                                                                    1241-000                               1,000.00

HSBC AVOIDANCE CAUSE OF ACTIONS
                                                                    1241-000                               4,704.12

PR AGAINST STEVEN CARIDI                                            1241-000                              32,500.00

PREFERENCE CASE OF ACTION AGAINST
SEARS                                                               1241-000                               2,100.00

PREFERENCE CAUSE OF ACTION AGAINST
HOME DEPOT                                                          1241-000                               2,400.00

PREFERENTIAL TRANSFER AGAINST
FRANK CARIDI                                                        1241-000                              45,000.00

PREFERENTIAL TRANSFER AGAINST
RICKY CARIDI                                                        1241-000                               2,500.00

          insurance proceeds                                        1249-000                             396,213.44




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                            DESCRIPTION                                    UNIFORM                                 $ AMOUNT
                                                                          TRAN. CODE1                              RECEIVED

INTERESTS IN INSURANCE POLICIES
                                                                             1249-000                                    55,368.34

INTERESTS IN INSURANCE POLICIES
                                                                             1249-000                                    36,660.72

MAIN CARE AVOIDANCE ACTION
                                                                             1249-000                                     1,400.00

UNDISCLOSED CONFLICTS IN RETENTION
APPLICATION                                                                  1249-000                                     2,500.00

         Post-Petition Interest Deposits                                     1270-000                                      133.06

INSURANCE AUDIT REFUND                                                       1290-000                                      472.00

               INSURANCE REFUND                                              1290-000                                      301.65

TOTAL GROSS RECEIPTS                                                                                                 $ 688,207.68
1
 The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.


             EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES

                    PAYEE                                       DESCRIPTION                         UNIFORM        $ AMOUNT
                                                                                                   TRAN. CODE         PAID

                                                    Non-Estate Funds Paid to Third
CAPITAL PUBLIC ADJUSTERS                            Parties                                          8500-002             4,240.30

                               Non-Estate Funds Paid to Third
CAPITAL PUBLIC ADJUSTERS, INC. Parties                                                               8500-002            19,810.67

                                                    Non-Estate Funds Paid to Third
CHRISTIAN H. DRIBUSCH F/B/O                         Parties                                          8500-002            17,000.00




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                  PAYEE                                       DESCRIPTION                      UNIFORM          $ AMOUNT
                                                                                              TRAN. CODE           PAID

                                                  Non-Estate Funds Paid to Third
NOLAN & HELLER, LLP,                              Parties                                      8500-002              4,000.00

                                                  Non-Estate Funds Paid to Third
THE BANK OF GREENE COUNTY                         Parties                                      8500-002             17,156.12

                                                  Non-Estate Funds Paid to Third
ULSTER SAVINGS BANK                               Parties                                      8500-002            319,251.05

TOTAL FUNDS PAID TO DEBTOR &                                                                                     $ 381,458.14
THIRD PARTIES


            EXHIBIT 3 – SECURED CLAIMS

                                                UNIFORM        CLAIMS
                                                                               CLAIMS             CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.      SCHEDULED                                           CLAIMS PAID
                                                                              ASSERTED           ALLOWED
                                                 CODE      (from Form 6D)

            Green County Town Tax 411
            Main Street Catskill, NY
            12414                                                 18,300.00              NA                NA              0.00


            Green County Town Tax c/o
            Deily, Mooney & Glastetter,
            LLP 8 Thurlow Terrace
            Albany, NY                                                 0.00              NA                NA              0.00


            The Bank of Green County
            PO Box 470 288 Main Street
            Catskill, NY 12414                                     4,000.00              NA                NA              0.00


            The Bank of Green County
            PO Box 470 288 Main Street
            Catskill, NY 12414                                   200,000.00              NA                NA              0.00




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                                                UNIFORM         CLAIMS
                                                                                 CLAIMS           CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.       SCHEDULED                                             CLAIMS PAID
                                                                                ASSERTED         ALLOWED
                                                 CODE       (from Form 6D)

            Ulster County Savings Bank
            c/o Hodgson Russ LLP 677
            Broadway Albany, NY 12207                                   0.00               NA               NA               0.00


            Ulster County Savings Bank
            PO Box 337 Kingston, NY
            12401                                                 825,000.00               NA               NA               0.00


24          George H. Bachert                   4110-000                 NA          14,500.00        14,500.00              0.00


26          George H. Bachert                   4110-000                 NA          14,500.00        14,500.00              0.00


2           GMAC                                4110-000                 NA           6,281.85         6,281.85              0.00


27          John Fitzpatrick                    4110-000                 NA          10,440.00        10,440.00              0.00


23          Lawrence & Nancy Hammond 4110-000                            NA          14,150.00        14,150.00              0.00


21          Pamela Caplan                       4110-000                 NA          12,465.52        12,465.52              0.00


11          The Bank Of Green County            4110-000                 NA        200,000.00       200,000.00               0.00


8           Greene County                       4700-000                 NA          38,671.09        38,671.09              0.00

TOTAL SECURED CLAIMS                                          $ 1,047,300.00      $ 311,008.46     $ 311,008.46            $ 0.00


            EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES

                                         UNIFORM
                                                             CLAIMS             CLAIMS            CLAIMS
              PAYEE                       TRAN.                                                                   CLAIMS PAID
                                                           SCHEDULED           ASSERTED          ALLOWED
                                          CODE

MARC S. EHRLICH                           2100-000                     NA          18,587.48         18,587.48          18,587.48




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                                          UNIFORM
                                                           CLAIMS          CLAIMS          CLAIMS
               PAYEE                       TRAN.                                                          CLAIMS PAID
                                                         SCHEDULED        ASSERTED        ALLOWED
                                           CODE

BK ATTORNEY SERVICES, LLC                  2200-000                  NA        1,292.99       1,292.99           1,292.99


MARC S. EHRLICH                            2200-000                  NA        1,192.69       1,192.69           1,192.69


THE BANK OF GREENE COUNTY                  2200-000                  NA         710.90         710.90             710.90


MARC S. EHRLICH                            2300-000                  NA           15.35          15.35              15.35


MARC S. EHRLICH, TRUSTEE                   2300-000                  NA           13.66          13.66              13.66


TRUSTEE MARC S. EHRLICH                    2300-000                  NA         501.20         501.20             501.20


BROADWAY PREMIUM
FUNDING                                    2420-000                  NA        6,309.52       6,309.52           6,309.52


K.T.S., INC.                               2420-000                  NA         200.00         200.00             200.00


KTS INC.                                   2420-000                  NA        1,284.37       1,284.37           1,284.37


KTS, INC.                                  2420-000                  NA        5,200.00       5,200.00           5,200.00


WILLIAM R. SEIDE AGENCY LLC                2420-000                  NA       22,168.97      22,168.97          22,168.97


Bank of America, N.A.                      2600-000                  NA        2,022.68       2,022.68           2,022.68


Empire National Bank                       2600-000                  NA         183.78         183.78             183.78


EmpireNationalBank                         2600-000                  NA        1,273.55       1,273.55           1,273.55


UNITED STATES BANKRUPTCY
COURTCLERK                                 2700-000                  NA        1,250.00       1,250.00           1,250.00




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                                          UNIFORM
                                                           CLAIMS          CLAIMS           CLAIMS
                PAYEE                      TRAN.                                                            CLAIMS PAID
                                                         SCHEDULED        ASSERTED         ALLOWED
                                           CODE

NEW YORK STATE
CORPORATION TAX                            2820-000                  NA           172.00          172.00               172.00


NYS DEPT OF TAXATION &
FINANCE                                    2820-000                  NA            25.00           25.00                 25.00


U.S. Trustee                               2950-000                  NA           650.00          650.00               650.00


CHRISTOPHER JOHNSON                        2990-000                  NA         2,000.00        2,000.00              2,000.00


MARC EHRLICH LAW FIRM PC                   3110-000                  NA        18,600.00       18,600.00            18,600.00


DEILY GLASTETTER P. C.                     3210-000                  NA      176,284.50       176,284.50           176,284.50


DEILY GLASTETTER P. C.                     3220-000                  NA         8,119.79        8,119.79              8,119.79


WILLIAM A. ZERONDA, CPA                    3410-000                  NA        29,509.05       29,509.05            29,509.05


RANDY PASSONNO                             3610-000                  NA         1,322.56        1,322.56              1,322.56


RANDY PASSONNO                             3620-000                  NA         1,889.12        1,889.12              1,889.12


JOHN R. PROBST
INVESTIGATIONS, INC.                       3731-000                  NA           219.51          219.51               219.51


K.T.S., INC.                               3992-000                  NA           100.00          100.00               100.00

TOTAL CHAPTER 7 ADMIN. FEES                                      $ NA       $ 301,098.67    $ 301,098.67          $ 301,098.67
AND CHARGES



               EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES




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                                          UNIFORM
                                                               CLAIMS            CLAIMS              CLAIMS
               PAYEE                       TRAN.                                                                    CLAIMS PAID
                                                             SCHEDULED          ASSERTED            ALLOWED
                                           CODE

State Of New York Dept. Of Labor           6820-000                      NA              403.20          403.20             403.20

TOTAL PRIOR CHAPTER ADMIN.                                            $ NA             $ 403.20         $ 403.20           $ 403.20
FEES AND CHARGES



            EXHIBIT 6 – PRIORITY UNSECURED CLAIMS

                                                                 CLAIMS            CLAIMS
                                                  UNIFORM
                                                               SCHEDULED          ASSERTED           CLAIMS
CLAIM NO.              CLAIMANT                    TRAN.                                                             CLAIMS PAID
                                                                (from Form      (from Proofs of     ALLOWED
                                                   CODE
                                                                    6E)             Claim)

             Nys Department Of Taxation
9P           And Finance                          5800-000                NA               682.06         682.06            682.06

TOTAL PRIORITY UNSECURED                                                 $ NA            $ 682.06        $ 682.06          $ 682.06
CLAIMS



            EXHIBIT 7 – GENERAL UNSECURED CLAIMS

                                                                 CLAIMS            CLAIMS
                                                  UNIFORM
                                                               SCHEDULED          ASSERTED           CLAIMS
CLAIM NO.              CLAIMANT                    TRAN.                                                             CLAIMS PAID
                                                                (from Form      (from Proofs of     ALLOWED
                                                   CODE
                                                                    6F)             Claim)

             Central Hudson Gas &
             Electric 284 South Avenue
             Poughkeepsie, NY 12601                                  6,800.00                 NA              NA               0.00


             First Niagara Bank 6950
             South Transit Road PO Box
             514 Lockport, NY 14095                                110,000.00                 NA              NA               0.00




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                                                             CLAIMS            CLAIMS
                                                 UNIFORM
                                                           SCHEDULED          ASSERTED          CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                       CLAIMS PAID
                                                            (from Form      (from Proofs of    ALLOWED
                                                  CODE
                                                                6F)             Claim)

            FW Webb 17 Erie Boulevard
            Albany, NY 12207                                     3,500.00                 NA             NA            0.00


            Garzone's Plumbing and
            Heating Hervey Street Cairo,
            NY 12413                                             2,700.00                 NA             NA            0.00


            Greco Steam Carpet Cleaning
            2566 Plainfield Ave Scotch
            Pines, NJ 07076                                      1,800.00                 NA             NA            0.00


            Holland and Knight 195
            Broadway 24th Floor New
            York, NY 10007                                       2,800.00                 NA             NA            0.00


            Home Depot Credit Services
            PO Box 653001 Dallas, TX
            75265                                                1,800.00                 NA             NA            0.00


            Main Care Energy PO Box
            11029 Albany, NY 12211                               7,500.00                 NA             NA            0.00


            Maintenance Warehouse PO
            Box 509055 San Diego, CA
            92150                                               10,850.00                 NA             NA            0.00


            Mid Hudson Cablevision PO
            Box 1354 Williston, VT
            05495                                                2,800.00                 NA             NA            0.00




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                                                              CLAIMS            CLAIMS
                                                 UNIFORM
                                                            SCHEDULED          ASSERTED           CLAIMS
CLAIM NO.              CLAIMANT                   TRAN.                                                           CLAIMS PAID
                                                             (from Form      (from Proofs of     ALLOWED
                                                  CODE
                                                                 6F)             Claim)

            N&S Supply 205 Route 9
            Fishkill, NY 12524                                    2,200.00                 NA              NA              0.00


            Central Hudson Gas &
3           Electric                             7100-000             NA            11,599.15       11,599.15            633.37


14          Hsbc Bank Usa, N.A.                  7100-000             NA            25,581.11       25,581.11          1,396.85


18          Hsbc Bank Usa, N.A.                  7100-000             NA                226.07        226.07              12.34


19          Hsbc Bank Usa, N.A.                  7100-000             NA                132.58        132.58               7.24


            INTERNAL REVENUE
7           SERVICE                              7100-000             NA                  0.00             0.00            0.00


13          N&S Supply                           7100-000             NA                328.16        328.16              17.92


            Nys Department Of Taxation
9U          And Finance                          7100-000             NA                140.60        140.60               7.68


            Ipfs Corporation As Successor
6           In                                   7100-001             NA                445.83        445.83              24.34


1           Main Care Energy                     7100-001             NA              5,158.57       5,158.57            281.68


15          New York State Workers''             7100-001             NA            40,000.00       40,000.00          2,184.19


            AMERICAN EXPRESS
30          CENTURION BANK                       7200-000             NA              1,695.75       1,695.75              0.00


33          Anton Antomattei                     7200-000             NA            10,000.00       10,000.00              0.00




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                                                              CLAIMS             CLAIMS
                                                 UNIFORM
                                                            SCHEDULED           ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                    TRAN.                                                            CLAIMS PAID
                                                             (from Form       (from Proofs of     ALLOWED
                                                  CODE
                                                                 6F)              Claim)

32          Culinary Depot Inc.                  7200-000               NA             2,733.01         2,733.01             0.00


25          Harry & Beatrice Freer               7200-000               NA             8,400.00         8,400.00             0.00


22          Jon & Pat Fluegel                    7200-000               NA           13,420.00         13,420.00             0.00


34          Laurel Torres                        7200-000               NA          355,271.10       355,271.10              0.00


31          Michelle Plummer                     7200-000               NA             7,000.00         7,000.00             0.00


29          Ulster Savings Bank                  7200-000               NA          872,667.29       872,667.29              0.00


20          Heather Nelson                       7400-000               NA                 0.00             0.00             0.00


17          Valerie & Gerardo Dunham             7400-000               NA                 0.00             0.00             0.00

TOTAL GENERAL UNSECURED                                        $ 152,750.00     $ 1,354,799.22    $ 1,354,799.22       $ 4,565.61
CLAIMS




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                                                                                 INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                                  ASSET CASES
                                                                                                                                                                                                                       Exhibit 8
Case No:             09-13311                                  REL               Judge:        Robert E. Littlefield Jr.                     Trustee Name:                      MARC S. EHRLICH
Case Name:           NOTTINGHAM VILLAGE DEVELOPMENT CORP                                                                                     Date Filed (f) or Converted (c):   05/26/2010 (c)
                                                                                                                                             341(a) Meeting Date:               07/12/2010
For Period Ending:   07/07/2017                                                                                                              Claims Bar Date:                   03/01/2010


                                  1                                                           2                             3                             4                          5                             6

                         Asset Description                                                  Petition/                 Est Net Value               Property Formally             Sale/Funds                     Asset Fully
             (Scheduled and Unscheduled (u) Property)                                     Unscheduled             (Value Determined by               Abandoned                  Received by                Administered (FA)/
                                                                                            Values                 Trustee, Less Liens,              OA=554(a)                   the Estate             Gross Value of Remaining
                                                                                                                       Exemptions,                                                                               Assets
                                                                                                                     and Other Costs)

  1. 52 acres with warehouse (Under blanket lien with U                                           400,000.00                          0.00                                                       0.00                        FA
  2. 83 Acres of vacant land (under blanket mortgage wi                                           830,000.00                     10,000.00                                                10,000.00                          FA
  3. 3 Bedroom Townhouse 3 Caridi Drive Catskill, NY                                              175,000.00                          0.00                                                       0.00                        FA
  4. 2 Single family residences 4856 Route 32 Catskill,                                           300,000.00                          0.00                                                       0.00                        FA
  5. Cash on hand                                                                                       300.00                        0.00                                                       0.00                        FA
  6. HSBC                                                                                               200.00                        0.00                                                       0.00                        FA
  7. RENTS                               (u)                                                              0.00                    3,900.00                                                 3,900.00                          FA
  8. TIME SHARE NOTES RECEIVABLES                                    (u)                                  0.00                   24,521.05                                                24,521.05                          FA
  9. VOID                              (u)                                                          Unknown                           0.00                                                       0.00                        FA
 10. VOID                              (u)                                                          Unknown                           0.00                                                       0.00                        FA
 11. REAL ESTATE BLUE AND YELLOW HOUSES                                    (u)                      Unknown                           0.00               OA                                      0.00                        FA
 12. DIP Account Closeout                          (u)                                                    0.00                    2,707.46                                                 2,707.46                          FA
 13. TAX REFUNDS                                   (u)                                                    0.00                     971.91                                                     971.91                         FA
 14. insurance proceeds                        (u)                                                        0.00                  396,213.44                                               396,213.44                          FA
 15. INTERESTS IN INSURANCE POLICIES                                 (u)                                  0.00                   55,368.34                                                55,368.34                          FA
 16. INSURANCE AUDIT REFUND                                    (u)                                        0.00                     472.00                                                     472.00                         FA
 17. INTERESTS IN INSURANCE POLICIES                                 (u)                                  0.00                   23,218.24                                                23,218.24                          FA
 18. PERSHING SECURITIES                                 (u)                                              0.00                     100.90                                                     100.90                         FA
 19. ACCOUNTS RECEIVABLE                                   (u)                                            0.00                     268.04                                                     268.04                         FA
 20. INTERESTS IN INSURANCE POLICIES                                 (u)                            Unknown                      36,660.72                                                36,660.72                          FA
 21. 2007 GMC                                (u)                                                          0.00                   13,000.00                                                13,000.00                          FA
 22. INSURANCE REFUND                                    (u)                                              0.00                     301.65                                                     301.65                         FA
 23. BANK OF AMERICA 549 AVOIDANCE                                   (u)                                  0.00                    2,071.00                                                 2,071.00                          FA
 24. MAIN CARE AVOIDANCE ACTION                                  (u)                                      0.00                    1,400.00                                                 1,400.00                          FA



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                                                                                                                                                                                                             Page:       2
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                                                                            INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                             ASSET CASES
                                                                                                                                                                                                                 Exhibit 8
Case No:              09-13311                          REL                 Judge:        Robert E. Littlefield Jr.                     Trustee Name:                      MARC S. EHRLICH
Case Name:            NOTTINGHAM VILLAGE DEVELOPMENT CORP                                                                               Date Filed (f) or Converted (c):   05/26/2010 (c)
                                                                                                                                        341(a) Meeting Date:               07/12/2010
For Period Ending:    07/07/2017                                                                                                        Claims Bar Date:                   03/01/2010


                                   1                                                     2                             3                             4                          5                            6

                         Asset Description                                             Petition/                 Est Net Value               Property Formally             Sale/Funds                    Asset Fully
             (Scheduled and Unscheduled (u) Property)                                Unscheduled             (Value Determined by               Abandoned                  Received by               Administered (FA)/
                                                                                       Values                 Trustee, Less Liens,              OA=554(a)                   the Estate            Gross Value of Remaining
                                                                                                                  Exemptions,                                                                              Assets
                                                                                                                and Other Costs)

 25. HSBC AVOIDANCE CAUSE OF ACTIONS                            (u)                                  0.00                    4,704.12                                                  4,704.12                        FA
 26. HOLLAND & KNIGHT AVOIDANCE ACTION                          (u)                                  0.00                    1,000.00                                                  1,000.00                        FA
 27. AMERICAN EXPRESS POST PETITION TRANSFER                                                         0.00                    1,695.75                                                  1,695.75                        FA
     (u)
 28. PREFERENCE CAUSE OF ACTION AGAINST HOME                                                         0.00                    2,400.00                                                  2,400.00                        FA
     DEPOT   (u)
 29. PREFERENCE CASE OF ACTION AGAINST SEARS                                                         0.00                    2,100.00                                                  2,100.00                        FA
     (u)
 30. ADVERSARY FILED AGAINST ROSARIO CARIDI                           (u)                            0.00                    2,500.00                                                  2,500.00                        FA
 31. EASEMENT IN REAL PROPERTY                            (u)                                        0.00                    5,000.00                                                  5,000.00                        FA
 32. PREFERENTIAL TRANSFER AGAINST RICKY CARIDI                                                      0.00                    2,500.00                                                  2,500.00                        FA
     (u)
 33. PR AGAINST STEVEN CARIDI                           (u)                                          0.00                   32,500.00                                                 32,500.00                        FA
 34. PREFERENTIAL TRANSFER AGAINST FRANK CARIDI                                                      0.00                  185,000.00                                                 50,000.00                        FA
     (u)
 35. UNDISCLOSED CONFLICTS IN RETENTION APPLICATION                                                  0.00                    2,500.00                                                  2,500.00                        FA
      (u)
 36. STOCK INTEREST IN SUBSIDIARY CORPORATIONS                                                       0.00                   10,000.00                                                 10,000.00                        FA
     (u)
INT. Post-Petition Interest Deposits              (u)                                          Unknown                           N/A                                                     133.06                    Unknown


                                                                                                                                                                                         Gross Value of Remaining Assets
  TOTALS (Excluding Unknown Values)                                                      $1,705,500.00                  $823,074.62                                                 $688,207.68                      $0.00
                                                                                                                                                                                         (Total Dollar Amount in Column 6)


  Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:

  READY




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RE PROP #            15   --   FRANK CARIDI POLICIES
RE PROP #            17   --   ROSARIO CARIDI LIFE INSURANCE
                                                                                                                              Exhibit 8
RE PROP #            20   --   ROSARIO CARIDI
RE PROP #            31   --   PER ORDER DATED 12/16/11

Initial Projected Date of Final Report (TFR): 09/13/2020   Current Projected Date of Final Report (TFR): 09/13/2016




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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 09-13311                                                                                           Trustee Name: MARC S. EHRLICH                                                 Exhibit 9
      Case Name: NOTTINGHAM VILLAGE DEVELOPMENT CORP                                                                      Bank Name: Bank of America
                                                                                                                 Account Number/CD#: XXXXXX5555
                                                                                                                                          Checking Account
  Taxpayer ID No: XX-XXX1684                                                                             Blanket Bond (per case limit): $9,175,000.00
For Period Ending: 07/07/2017                                                                            Separate Bond (if applicable):


       1                2                             3                                              4                                                   5                       6                     7

Transaction Date    Check or                Paid To / Received From                     Description of Transaction              Uniform Tran.       Deposits ($)          Disbursements ($)    Account/CD Balance
                    Reference                                                                                                       Code                                                               ($)
   06/15/10             7         JENNIFER MERRILL                          MONTHLY RECEIPTS FROM                                1222-000                    $900.00                                       $900.00
                                                                            RENTAL
                                                                            PROPERTY COLLECTED IN
                                                                            TRUST BY R. HOWELL.
   06/15/10             7         JASON RYDER                               MONTHLY RECEIPTS FROM                                1222-000                 $1,000.00                                     $1,900.00
                                                                            RENTAL
                                                                            PROPERTY COLLECTED IN
                                                                            TRUST BY R. HOWELL.
   06/15/10             8         HENRY WEISS                               ACCOUNTS RECEIVABLE                                  1221-000                    $175.00                                    $2,075.00
                                  325 ALPINE DRIVECORTLANDT
                                  MANOR, NY 10567
   06/15/10             8         MARK W. VICKERY                           ACCOUNTS RECEIVABLE                                  1221-000                    $500.00                                    $2,575.00
                                  JUDITH A. VICKERY154 FIFTH
                                  AVENUEGLOVERSVILLE, NY 12078
   06/15/10             8         JEFFREY E. DUNN                           ACCOUNTS RECEIVABLE                                  1221-000                    $256.05                                    $2,831.05
                                  PEGGY M. DUNN3 MEADOW VALLEY
                                  DRIVECLIFTON PARK, NY 12065
   06/24/10             8         PAUL ECKWALL                              ACCOUNTS RECEIVABLE                                  1221-000                    $158.47                                    $2,989.52
                                  126 GRETNA WOODS RD.PLEASANT
                                  VALLEY, NY 12569-6966
   06/24/10             8         GRANT S. HUNT                             ACCOUNTS RECEIVABLE                                  1221-000                    $173.60                                    $3,163.12
                                  105 ROSE CRANZ EXT.NASSAU, NY
                                  12123
   06/24/10             8         MICHAEL DOBBINS                           ACCOUNTS RECEIVABLE                                  1221-000                    $132.04                                    $3,295.16
                                  PO BOX 1021PORT CHESTER, NY
                                  10573
   06/28/10             8         JEFF DUNN                                 ACCOUNTS RECEIVABLE                                  1221-000                    $253.05                                    $3,548.21
                                  3 MEADOW VALLEY DRCLIFTON
                                  PARK, NY 12065
   06/28/10             8         CHAD E. GUTHRIE                           ACCOUNTS RECEIVABLE                                  1221-000                    $159.00                                    $3,707.21
                                  399 COUNTY ROUTE 84CENTRAL
                                  SQUARE, NY 13036
   06/28/10             8         JEAN BATTAGLIA                            ACCOUNTS RECEIVABLE                                  1221-000                    $118.75                                    $3,825.96
                                  DOUGLAS GRAHAM1305 VILLAGE
                                  DRIVEBREWSTER, NY 10509
   06/30/10            INT        Bank of America, N.A.                     Interest Rate 0.030                                  1270-000                      $0.03                                    $3,825.99




                                                                                   Page Subtotals:                                                        $3,825.99                    $0.00
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 09-13311                                                                                           Trustee Name: MARC S. EHRLICH                                                 Exhibit 9
      Case Name: NOTTINGHAM VILLAGE DEVELOPMENT CORP                                                                      Bank Name: Bank of America
                                                                                                                 Account Number/CD#: XXXXXX5555
                                                                                                                                          Checking Account
  Taxpayer ID No: XX-XXX1684                                                                             Blanket Bond (per case limit): $9,175,000.00
For Period Ending: 07/07/2017                                                                            Separate Bond (if applicable):


       1                2                             3                                              4                                                   5                       6                     7

Transaction Date    Check or                Paid To / Received From                     Description of Transaction              Uniform Tran.       Deposits ($)          Disbursements ($)    Account/CD Balance
                    Reference                                                                                                       Code                                                               ($)
   07/06/10             7         FINESSA HARDY                             MONTHLY RECEIPTS FROM                                1222-000                 $1,000.00                                     $4,825.99
                                  CATSKILL, NY 12414                        RENTAL
                                                                            PROPERTY COLLECTED IN
                                                                            TRUST BY R. HOWELL.
   07/06/10             7         DONALD WALDHELM                           MONTHLY RECEIPTS FROM                                1222-000                 $1,000.00                                     $5,825.99
                                  CATSKILL, NY 12414                        RENTAL
                                                                            PROPERTY COLLECTED IN
                                                                            TRUST BY R. HOWELL.
   07/09/10                       Transfer to Acct # XXXXXX5649             Bank Funds Transfer                                  9999-000                                            $219.51            $5,606.48

   07/19/10             8         PAULINE CAYO                              ACCOUNTS RECEIVABLE                                  1221-000                    $118.75                                    $5,725.23
                                  RALPH CAYO13 SITNIK
                                  AVENUECHICOPEE, MA 01013-3039
   07/19/10             8         GRANT S. HUNT                             ACCOUNTS RECEIVABLE                                  1221-000                    $173.60                                    $5,898.83
                                  105 ROSE CRANZ EXT.NASSAU, NY
                                  12123
   07/19/10             8         JEFF DUNN                                 ACCOUNTS RECEIVABLE                                  1221-000                    $253.05                                    $6,151.88
                                  3 MEADOW VALLEY DRCLIFTON
                                  PARK, NY 12065
   07/26/10             8         JEAN BATTAGLIA                            ACCOUNTS RECEIVABLE                                  1221-000                    $118.75                                    $6,270.63
                                  DOUGLAS GRAHAM1305 VILLAGE
                                  DRIVEBREWSTER, NY 10509
   07/26/10             8         MARGARET JAFFER                   ACCOUNTS RECEIVABLE                                          1221-000                    $566.64                                    $6,837.27
                                  57 GERARDINE PLNEW CITY, NY 10956
   07/26/10             8         PAUL ECKWALL                              ACCOUNTS RECEIVABLE                                  1221-000                    $158.47                                    $6,995.74
                                  126 GRETNA WOODS RDPLEASANT
                                  VALLEY, NY 12569-6966
   07/30/10            INT        Bank of America, N.A.                     Interest Rate 0.030                                  1270-000                      $0.13                                    $6,995.87

   08/10/10            12         NOTTINGHAM VILLAGE                        FUNDS RECEIVED FROM                                  1229-000                 $2,707.46                                     $9,703.33
                                  DEVELOPMENT CORP                          DEBTORS BANK
                                  4858 ROUTE 32CATSKILL, NY 12414           ACCOUNTS
   08/11/10             8         JEAN BATTAGLIA                            ACCOUNTS RECEIVABLE                                  1221-000                    $118.75                                    $9,822.08
                                  DOUGLAS GRAHAM1305 VILLAGE
                                  DRIVEBREWSTER, NY 10509
   08/11/10             8         HENRY WEISS                               ACCOUNTS RECEIVABLE                                  1221-000                    $160.00                                    $9,982.08
                                  325 ALPINE DRIVECORTLANDT
                                  MANOR, NY 10567

                                                                                   Page Subtotals:                                                        $6,375.60                  $219.51
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 09-13311                                                                                           Trustee Name: MARC S. EHRLICH                                                 Exhibit 9
      Case Name: NOTTINGHAM VILLAGE DEVELOPMENT CORP                                                                      Bank Name: Bank of America
                                                                                                                 Account Number/CD#: XXXXXX5555
                                                                                                                                          Checking Account
  Taxpayer ID No: XX-XXX1684                                                                             Blanket Bond (per case limit): $9,175,000.00
For Period Ending: 07/07/2017                                                                            Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                     Description of Transaction              Uniform Tran.       Deposits ($)          Disbursements ($)    Account/CD Balance
                    Reference                                                                                                       Code                                                               ($)
   08/11/10             8         MICHAEL DOBBINS                           ACCOUNTS RECEIVABLE                                  1221-000                    $145.24                                  $10,127.32
                                  PO BOX 1021PORT CHESTER, NY
                                  10573
   08/11/10             8         PAULINE CAYO                              ACCOUNTS RECEIVABLE                                  1221-000                    $118.75                                  $10,246.07
                                  RALPH CAYO13 SITNIK
                                  AVENUECHICOPEE, MA 01013-3039
   08/11/10             8         SHEILA LONG                   ACCOUNTS RECEIVABLE                                              1221-000                    $270.03                                  $10,516.10
                                  965 STRONG STREETSCHENECTADY,
                                  NY 12307
   08/11/10                       Transfer to Acct # XXXXXX5649             Bank Funds Transfer                                  9999-000                                            $500.00          $10,016.10

   08/31/10             8         GRANT S. HUNT                             ACCOUNTS RECEIVABLE                                  1221-000                    $173.60                                  $10,189.70
                                  105 ROSE CRANZ EXT.NASSAU, NY
                                  12123
   08/31/10             8         MARGARET JAFFER                   ACCOUNTS RECEIVABLE                                          1221-000                    $283.32                                  $10,473.02
                                  57 GERARDINE PLNEW CITY, NY 10956
   08/31/10             8         PAUL ECKWALL                              ACCOUNTS RECEIVABLE                                  1221-000                    $158.47                                  $10,631.49
                                  126 GRETNA WOODS RDPLEASANT
                                  VALLEY, NY 12569-6966
   08/31/10            13         IRS                                       TAX REFUND                                           1224-000                    $971.91                                  $11,603.40
                                  AUSTIN, TEXAS
   08/31/10            INT        Bank of America, N.A.                     Interest Rate 0.030                                  1270-000                      $0.22                                  $11,603.62

   09/03/10                       Transfer to Acct # XXXXXX5649             Bank Funds Transfer                                  9999-000                                            $250.00          $11,353.62

   09/07/10            14         YORK CLAIMS SERVICE, INC.                 INSURANCE PROCEEDS                                   1249-000               $13,072.00                                    $24,425.62
                                  99 CHERRY HILL ROAD SUITE
                                  230PARSIPPANY, NJ 07054
   09/07/10            14         YORK CLAIMS SERVICE, INC.                 INSURANCE PROCEEDS                                   1249-000                 $2,122.00                                   $26,547.62
                                  99 CHERRY HILL ROAD SUITE
                                  230PARSIPPANY, NJ 07054
   09/07/10            14         FEMA                           INSURANCE PROCEEDS                                              1249-000               $90,151.17                                   $116,698.79
                                  US DEPT OF HOMELAND SECURITYPO
                                  BOX 2965SHAWNEE MISSION, KS
                                  66201-1365




                                                                                   Page Subtotals:                                                     $107,466.71                   $750.00
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 09-13311                                                                                           Trustee Name: MARC S. EHRLICH                                                 Exhibit 9
      Case Name: NOTTINGHAM VILLAGE DEVELOPMENT CORP                                                                      Bank Name: Bank of America
                                                                                                                 Account Number/CD#: XXXXXX5555
                                                                                                                                          Checking Account
  Taxpayer ID No: XX-XXX1684                                                                             Blanket Bond (per case limit): $9,175,000.00
For Period Ending: 07/07/2017                                                                            Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                     Description of Transaction              Uniform Tran.       Deposits ($)          Disbursements ($)    Account/CD Balance
                    Reference                                                                                                       Code                                                               ($)
   09/07/10            14         FEMA                           INSURANCE PROCEEDS                                              1249-000                 $4,127.75                                  $120,826.54
                                  US DEPT OF HOMELAND SECURITYPO
                                  BOX 2965SHAWNEE MISSION, KS
                                  66201-1365
   09/07/10            14         FEMA                           INSURANCE PROCEEDS                                              1249-000               $37,463.61                                   $158,290.15
                                  US DEPT OF HOMELAND SECURITYPO
                                  BOX 2965SHAWNEE MISSION, KS
                                  66201-1365
   09/07/10            14         FEMA                           INSURANCE PROCEEDS                                              1249-000              $249,276.91                                   $407,567.06
                                  US DEPT OF HOMELAND SECURITYPO
                                  BOX 2965SHAWNEE MISSION, KS
                                  66201-1365
   09/20/10            15         FRANK CARIDI                              NON EXEMPT PROPERTY                                  1249-000               $55,368.34                                   $462,935.40
                                  PEGGY CARIDI5 HIGBEE
                                  ROADHAMPTON BAYS, NY 11946
   09/22/10                       Transfer to Acct # XXXXXX5649             Bank Funds Transfer                                  9999-000                                            $210.90         $462,724.50

   09/23/10                       Transfer to Acct # XXXXXX5649             Bank Funds Transfer                                  9999-000                                         $1,284.37          $461,440.13

   09/27/10                       Transfer to Acct # XXXXXX5649             Bank Funds Transfer                                  9999-000                                         $3,129.76          $458,310.37

   09/28/10             8         JEFF DUNN                                 ACCOUNTS RECEIVABLE                                  1221-000                    $253.06                                 $458,563.43
                                  PEGGY M. DUNN3 MEADOW VALLEY
                                  DRCLIFTON PARK, NY 12065
   09/28/10             8         MICHAEL DOBBINS                           ACCOUNTS RECEIVABLE                                  1221-000                    $132.04                                 $458,695.47
                                  PO BOX 1021PORT CHESTER, NY
                                  10573
   09/28/10                       Transfer to Acct # XXXXXX5649             Bank Funds Transfer                                  9999-000                                         $1,000.00          $457,695.47

   09/30/10            INT        Bank of America, N.A.                     Interest Rate 0.070                                  1270-000                     $17.17                                 $457,712.64

   10/04/10             8         THE BANK OF GREENE COUNTY                 ACCOUNTS RECEIVABLE                                  1221-000               $17,156.12                                   $474,868.76

   10/04/10             8         CHRISTINE ROXAS                           ACCOUNTS RECEIVABLE                                  1221-000                     $50.00                                 $474,918.76
                                  40 GEROW AVENUE
                                  SPRING VALLEY, NY 10977-5736



                                                                                   Page Subtotals:                                                     $363,845.00                $5,625.03
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 09-13311                                                                                           Trustee Name: MARC S. EHRLICH                                                 Exhibit 9
      Case Name: NOTTINGHAM VILLAGE DEVELOPMENT CORP                                                                      Bank Name: Bank of America
                                                                                                                 Account Number/CD#: XXXXXX5555
                                                                                                                                          Checking Account
  Taxpayer ID No: XX-XXX1684                                                                             Blanket Bond (per case limit): $9,175,000.00
For Period Ending: 07/07/2017                                                                            Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                     Description of Transaction              Uniform Tran.       Deposits ($)          Disbursements ($)    Account/CD Balance
                    Reference                                                                                                       Code                                                               ($)
   10/04/10             8         GRANT S. HUNT                             ACCOUNTS RECEIVABLE                                  1221-000                    $173.60                                 $475,092.36
                                  105 ROSE CRANZ EXT.NASSAU, NY
                                  12123
   10/04/10             8         PAUL ECKWALL                              ACCOUNTS RECEIVABLE                                  1221-000                    $158.47                                 $475,250.83
                                  126 GRETNA WOODS RDPLEASANT
                                  VALLEY, NY 12569-6966
   10/04/10             8         MARGARET JAFFER                   ACCOUNTS RECEIVABLE                                          1221-000                    $283.32                                 $475,534.15
                                  57 GERARDINE PLNEW CITY, NY 10956
   10/04/10             8         JEAN BATTAGLIA                            ACCOUNTS RECEIVABLE                                  1221-000                    $118.75                                 $475,652.90
                                  DOUGLAS GRAHAM1305 VILLAGE
                                  DRIVEBREWSTER, NY 10509
   10/04/10             8         CHAD E. GUTHRIE                           ACCOUNTS RECEIVABLE                                  1221-000                    $318.00                                 $475,970.90
                                  399 COUNTY ROUTE 84CENTRAL
                                  SQUARE, NY 13036
   10/04/10             8         ROBERT B. WINARSKI                        ACCOUNTS RECEIVABLE                                  1221-000                    $158.47                                 $476,129.37
                                  JULIE K. WINARSKI93 MELTON
                                  DREAST HARTFORD, CT 06118
   10/04/10             8         CHRISTINE ROXAS                           ACCOUNTS RECEIVABLE                                  1221-000                     $50.00                                 $476,179.37
                                  40 GEROW AVENUESPRING VALLEY,
                                  NY 10977-5736
   10/04/10            16         ZURICH AMERICAN INSURANCE                 INSURANCE PREMIUM                                    1290-000                    $472.00                                 $476,651.37
                                  COMPANY                                   REFUNDS
                                  ZURICH TOWERS, 1400 AMERICAN
                                  LANESCHAUMBURG, IL 60196
   10/05/10             8         CHRISTINE ROXAS                           ACCOUNTS RECEIVABLE                                  1221-000                    $275.00                                 $476,926.37
                                  40 GEROW AVENUESPRING VALLEY,
                                  NY 10977-5736
   10/05/10             8         CHRISTINE ROXAS                           ACCOUNTS RECEIVABLE                                  1221-000                    ($50.00)                                $476,876.37
                                  40 GEROW AVENUE                           Reversal
                                  SPRING VALLEY, NY 10977-5736
   10/08/10            17         REGINA CARIDI                             NON EXEMPT PROPERTY                                  1229-000               $23,218.24                                   $500,094.61
                                  120 WILD WING PARKCATSKILL, NY
                                  12414
   10/08/10                       Transfer to Acct # XXXXXX5649             Bank Funds Transfer                                  9999-000                                            $300.00         $499,794.61

   10/11/10                       Transfer to Acct # XXXXXX5649             Bank Funds Transfer                                  9999-000                                        $17,156.12          $482,638.49



                                                                                  Page Subtotals:                                                       $25,175.85               $17,456.12
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 09-13311                                                                                           Trustee Name: MARC S. EHRLICH                                                   Exhibit 9
      Case Name: NOTTINGHAM VILLAGE DEVELOPMENT CORP                                                                      Bank Name: Bank of America
                                                                                                                 Account Number/CD#: XXXXXX5555
                                                                                                                                          Checking Account
  Taxpayer ID No: XX-XXX1684                                                                             Blanket Bond (per case limit): $9,175,000.00
For Period Ending: 07/07/2017                                                                            Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                     Description of Transaction              Uniform Tran.       Deposits ($)          Disbursements ($)      Account/CD Balance
                    Reference                                                                                                       Code                                                                 ($)
   10/13/10             8         JEFF DUNN                                 ACCOUNTS RECEIVABLE                                  1221-000                    $253.05                                   $482,891.54
                                  3 MEADOW VALLEY DRCLIFTON
                                  PARK, NY 12065
   10/13/10             8         CINDY BOHLER                              ACCOUNTS RECEIVABLE                                  1221-000                     $50.00                                   $482,941.54
                                  KEITH BOHLER122 GALLOWS HILL
                                  RDCORTLANDT MANOR, NY 10567
   10/26/10             8         JEAN BATTAGLIA                            ACCOUNTS RECEIVABLE                                  1221-000                    $118.75                                   $483,060.29
                                  DOUGLAS GRAHAM1305 VILLAGE
                                  DRIVEBREWSTER, NY 10509
   10/26/10             8         MICHAEL DOBBINS                           ACCOUNTS RECEIVABLE                                  1221-000                    $132.04                                   $483,192.33
                                  PO BOX 1021PORT CHESTER, NY
                                  10573
   10/26/10             8         JOSE F. SANTOS                            ACCOUNTS RECEIVABLE                                  1221-000                    $147.00                                   $483,339.33
                                  LUCILLE I. SANTOS18 SYLVAN
                                  TRAILMONROE, NY 10950
   10/27/10                       Transfer to Acct # XXXXXX5649             Bank Funds Transfer                                  9999-000                                         $5,200.00            $478,139.33

   10/29/10            INT        Bank of America, N.A.                     Interest Rate 0.070                                  1270-000                     $28.25                                   $478,167.58

   11/22/10            301        INTERNATIONAL SURETIES, LTD    BLANKET BOND 11/1/10 TO                                         2300-000                                             $274.97          $477,892.61
                                  SUITE 420701 POYDRAS STREETNEW 11/1/11 BOND #016027938
                                  ORLEANS, LA 70139
   11/23/10            301        Reverses Check # 301                      BLANKET BOND 11/1/10 TO                              2300-000                                            ($274.97)         $478,167.58
                                                                            11/1/11
   11/23/10            302        MARC S. EHRLICH, TRUSTEE                  Trustee Bond Premium Trustee                         2300-000                                             $274.97          $477,892.61
                                  64 SECOND STREETTROY, NY 12180            Bond Premium
   11/24/10            18         PERSHING                                  PERSHING SECURITIES                                  1229-000                    $100.90                                   $477,993.51
                                  ONE PERSHING PLAZAJERSEY CITY,
                                  NJ 07399
   11/30/10            INT        Bank of America, N.A.                     Interest Rate 0.070                                  1270-000                     $27.51                                   $478,021.02

   11/30/10                       Transfer to Acct # XXXXXX5649             Bank Funds Transfer                                  9999-000                                         $1,000.00            $477,021.02

   12/02/10            19         TRANSFIRST, LLC                           ACCOUNTS RECEIVABLE                                  1221-000                    $268.04                                   $477,289.06
                                  371 Centennial ParkwayLouisville, CO
                                  80027



                                                                                   Page Subtotals:                                                        $1,125.54               $6,474.97
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 09-13311                                                                                              Trustee Name: MARC S. EHRLICH                                               Exhibit 9
      Case Name: NOTTINGHAM VILLAGE DEVELOPMENT CORP                                                                        Bank Name: Bank of America
                                                                                                                 Account Number/CD#: XXXXXX5555
                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX1684                                                                             Blanket Bond (per case limit): $9,175,000.00
For Period Ending: 07/07/2017                                                                            Separate Bond (if applicable):


       1                2                             3                                              4                                                    5                       6                     7

Transaction Date    Check or                Paid To / Received From                     Description of Transaction                 Uniform Tran.     Deposits ($)          Disbursements ($)    Account/CD Balance
                    Reference                                                                                                          Code                                                             ($)
   12/08/10            20         METLIFE                                   INSURANCE PROCEEDS                                      1249-000             $36,660.72                                   $513,949.78
                                  PO BOX 540WARWICK, RI 02886-0540
   12/09/10                       Transfer to Acct # XXXXXX5649             Bank Funds Transfer                                     9999-000                                      $11,172.50          $502,777.28

   12/16/10                       RANDY PASSONNO                          PROCEEDS FROM SALE AT                                                          $11,110.88                                   $513,888.16
                                  Collar City Auctions Realty& Management AUCTION
                                  Inc.9423 Western TurnpikeDelanson, NY
                                  12053
                                                                            Gross Receipts                           $13,000.00

                                  RANDY PASSONNO                            AUCTIONEERS FEES                         ($1,889.12)    3620-000
                                  Randy PassonnoCollar City Auctions
                                  Realty& Management Inc.9423 Western
                                  TurnpikeDelanson, NY 12053
                       21                                                   2007 GMC                                 $13,000.00     1229-000

   12/16/10                       Reverses Transfer on 12/16/10             Bank Funds Transfer                                     9999-000                                      ($3,516.05)         $517,404.21

   12/16/10                       Reverses Transfer on 12/16/10             Bank Funds Transfer                                     9999-000                                      ($9,832.39)         $527,236.60

   12/16/10                       Transfer to Acct # XXXXXX5649             Bank Funds Transfer                                     9999-000                                       $9,832.39          $517,404.21

   12/16/10                       Transfer to Acct # XXXXXX5649             Bank Funds Transfer                                     9999-000                                       $3,516.05          $513,888.16

   12/20/10                       Transfer to Acct # XXXXXX5649             Bank Funds Transfer                                     9999-000                                       $2,038.76          $511,849.40

   12/20/10                       Transfer to Acct # XXXXXX5649             Bank Funds Transfer                                     9999-000                                       $1,141.00          $510,708.40

   12/31/10            INT        Bank of America, N.A.                     Interest Rate 0.070                                     1270-000                   $29.40                                 $510,737.80

   01/07/11                       Transfer to Acct # XXXXXX5649             Bank Funds Transfer                                     9999-000                                          $250.00         $510,487.80

   01/14/11                       Transfer to Acct # XXXXXX5649             Bank Funds Transfer                                     9999-000                                          $250.00         $510,237.80

   01/24/11            22         THE STATE INSURANCE FUND        INSURANCE PREMIUM                                                 1290-000                  $301.65                                 $510,539.45
                                  STATE OF NYDEPT OF TAXATION AND REFUNDS
                                  FINANCEALBANY, NY

                                                                                   Page Subtotals:                                                       $48,102.65               $14,852.26
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 09-13311                                                                                            Trustee Name: MARC S. EHRLICH                                                 Exhibit 9
      Case Name: NOTTINGHAM VILLAGE DEVELOPMENT CORP                                                                       Bank Name: Bank of America
                                                                                                                  Account Number/CD#: XXXXXX5555
                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX1684                                                                              Blanket Bond (per case limit): $9,175,000.00
For Period Ending: 07/07/2017                                                                             Separate Bond (if applicable):


       1                2                             3                                              4                                                    5                       6                     7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)          Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                               ($)
   01/31/11            INT        Bank of America, N.A.                     Interest Rate 0.070                                   1270-000                    $30.35                                  $510,569.80

   03/01/11                       Transfer to Acct # XXXXXX5649             Bank Funds Transfer                                   9999-000                                        $19,810.67          $490,759.13

   03/15/11                       Transfer to Acct # XXXXXX5649             Bank Funds Transfer                                   9999-000                                             $19.00         $490,740.13

   03/29/11            23         BANK OF AMERICA                           POST PETITION                                         1241-000                 $2,071.00                                  $492,811.13
                                  1825 E. BUCKEYE RDPHOENIX, AZ             100% COLLECTION OF THE
                                  85034-4216                                VALUE OF THE TRANSFER
   04/07/11                       Transfer to Acct # XXXXXX5649             Bank Funds Transfer                                   9999-000                                        $22,168.97          $470,642.16

   05/12/11            24         MAIN BROTHERS OIL COMPANY, INC. AVOIDANCE ACTION                                                1249-000                 $1,400.00                                  $472,042.16
                                  1 BOOTH LANEPO BOX 11029ALBANY,
                                  NY 12211
   05/31/11                       Transfer to Acct # XXXXXX5649             Bank Funds Transfer                                   9999-000                                         $4,240.30          $467,801.86

   06/24/11                       Transfer to Acct # XXXXXX5649             Bank Funds Transfer                                   9999-000                                       $340,251.05          $127,550.81

   07/19/11                       Transfer to Acct # XXXXXX5649             Bank Funds Transfer                                   9999-000                                         $1,322.56          $126,228.25

   08/12/11            25         DEILY, MOONEY & GLASTETTER, LLP                                                                 1241-000                 $4,704.12                                  $130,932.37
                                  8 THURLOW TERRACEALBANY, NY
                                  12203
   09/19/11                       Transfer to Acct # XXXXXX5649             Bank Funds Transfer                                   9999-000                                            $500.00         $130,432.37

   09/28/11            26         HOLLAND & KNIGHT LLP                      LITIGATION                                            1241-000                 $1,000.00                                  $131,432.37
                                  201 N. FRANKLIN STREET SUITE
                                  1200TAMPA, FL 33602
   10/07/11            27         AMERICAN EXPRESS                          POST PETITION TRANSFER                                1241-000                 $1,695.75                                  $133,128.12
                                  2401 W BEHREND DRIVE STE
                                  55PHOENIX, AZ 85027
   10/31/11                       Bank of America, N.A.                     BANK SERVICE FEE                                      2600-000                                            $168.52         $132,959.60

   11/18/11                       CITIBANK NA                               PREFERENTIAL TRANSFER                                                          $4,500.00                                  $137,459.60
                                  CUSTOMER SERVICE CENTERPO BOX             PREFERENTIAL TRANSFER
                                  6500SIOUX FALLS, SOUTH DAKOTA             OR FRAUDULENT
                                  57117                                     CONVEYANCE

                                                                                   Page Subtotals:                                                       $15,401.22              $388,481.07
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 09-13311                                                                                             Trustee Name: MARC S. EHRLICH                                                Exhibit 9
      Case Name: NOTTINGHAM VILLAGE DEVELOPMENT CORP                                                                       Bank Name: Bank of America
                                                                                                                  Account Number/CD#: XXXXXX5555
                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX1684                                                                              Blanket Bond (per case limit): $9,175,000.00
For Period Ending: 07/07/2017                                                                             Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                      Description of Transaction               Uniform Tran.      Deposits ($)          Disbursements ($)    Account/CD Balance
                    Reference                                                                                                         Code                                                              ($)
                                                                            Gross Receipts                            $4,500.00

                       28                                                   PREFERENCE CAUSE OF                       $2,400.00    1241-000
                                                                            ACTION AGAINST HOME
                                                                            DEPOT
                       29                                                   PREFERENCE CASE OF                        $2,100.00    1241-000
                                                                            ACTION AGAINST SEARS

   11/18/11            303        MARC S. EHRLICH, TRUSTEE                  BLANKET BOND PREMIUM                                   2300-000                                           $105.61         $137,353.99
                                  64 SECOND STREETTROY, NY 12180
   11/30/11                       Bank of America, N.A.                     BANK SERVICE FEE                                       2600-000                                           $164.96         $137,189.03

   12/22/11            30         M. REGINA CARIDI                          LITIGATION                                             1241-000                $2,500.00                                  $139,689.03
                                  120 WILDWING PARKCATSKILL, NY
                                  12414
   12/30/11                       Bank of America, N.A.                     BANK SERVICE FEE                                       2600-000                                           $169.34         $139,519.69

   01/31/12                       Bank of America, N.A.                     BANK SERVICE FEE                                       2600-000                                           $182.98         $139,336.71

   02/28/12            31         BANK OF GREENE COUNTY                     SALE OF EASEMENT                                       1210-000                $5,000.00                                  $144,336.71

   02/29/12                       Bank of America, N.A.                     BANK SERVICE FEE                                       2600-000                                           $165.61         $144,171.10

   03/30/12                       Bank of America, N.A.                     BANK SERVICE FEE                                       2600-000                                           $176.43         $143,994.67

   04/30/12                       Bank of America, N.A.                     BANK SERVICE FEE                                       2600-000                                           $182.94         $143,811.73

   05/07/12            36         EIFFEL RESORT & CONVENTION, LLC           STOCK INTERESTS                                        1229-000              $10,000.00                                   $153,811.73

   05/17/12            35         SHALLO, GALLUSCIO, BIANCHI &              LITIGATION                                             1249-000                $2,500.00                                  $156,311.73
                                  FUCITO
                                  21 North 7th StreetHudson, NY 12534
   05/31/12                       Bank of America, N.A.                     BANK SERVICE FEE                                       2600-000                                           $192.13         $156,119.60

   06/29/12                       Bank of America, N.A.                     BANK SERVICE FEE                                       2600-000                                           $185.55         $155,934.05



                                                                                  Page Subtotals:                                                        $20,000.00                $1,525.55
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 09-13311                                                                                           Trustee Name: MARC S. EHRLICH                                               Exhibit 9
      Case Name: NOTTINGHAM VILLAGE DEVELOPMENT CORP                                                                     Bank Name: Bank of America
                                                                                                                Account Number/CD#: XXXXXX5555
                                                                                                                                        Checking Account
  Taxpayer ID No: XX-XXX1684                                                                           Blanket Bond (per case limit): $9,175,000.00
For Period Ending: 07/07/2017                                                                          Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                   Description of Transaction              Uniform Tran.       Deposits ($)          Disbursements ($)    Account/CD Balance
                    Reference                                                                                                     Code                                                               ($)
   07/31/12                       Bank of America, N.A.                     BANK SERVICE FEE                                    2600-000                                           $204.50         $155,729.55

   08/31/12                       Bank of America, N.A.                     BANK SERVICE FEE                                    2600-000                                           $197.85         $155,531.70

   09/06/12                       Bank of America, N.A.           BANK FEES                                                     2600-000                                            $31.87         $155,499.83
                                  901 MAIN STREET9TH FLOORDALLAS,
                                  TX 75283
   09/06/12                       Trsf To Empire National Bank              FINAL TRANSFER                                      9999-000                                      $155,499.83                 $0.00



                                                                                                          COLUMN TOTALS                              $591,318.56              $591,318.56
                                                                                                                Less: Bank Transfers/CD's                   $0.00             $588,915.30
                                                                                                          Subtotal                                   $591,318.56                $2,403.26
                                                                                                                Less: Payments to Debtors                   $0.00                    $0.00
                                                                                                          Net                                        $591,318.56                $2,403.26




                                                                                 Page Subtotals:                                                            $0.00             $155,934.05
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 09-13311                                                                                             Trustee Name: MARC S. EHRLICH                                                 Exhibit 9
      Case Name: NOTTINGHAM VILLAGE DEVELOPMENT CORP                                                                        Bank Name: Bank of America
                                                                                                                   Account Number/CD#: XXXXXX5649
                                                                                                                                            BofA - Checking Account
  Taxpayer ID No: XX-XXX1684                                                                               Blanket Bond (per case limit): $9,175,000.00
For Period Ending: 07/07/2017                                                                              Separate Bond (if applicable):


       1                2                             3                                                4                                                   5                       6                     7

Transaction Date    Check or                Paid To / Received From                       Description of Transaction              Uniform Tran.       Deposits ($)          Disbursements ($)    Account/CD Balance
                    Reference                                                                                                         Code                                                               ($)
   07/09/10                       Transfer from Acct # XXXXXX5555           Bank Funds Transfer                                    9999-000                    $219.51                                       $219.51

   07/09/10           3001        JOHN R. PROBST INVESTIGATIONS,                                                                   3731-000                                            $219.51                 $0.00
                                  INC.
                                  352 LOUDON ROADLOUDONVILLE, NY
                                  12211
   08/11/10                       Transfer from Acct # XXXXXX5555           Bank Funds Transfer                                    9999-000                    $500.00                                       $500.00

   08/11/10           3002        THE BANK OF GREENE COUNTY                 BANK RECORD FEES                                       2200-000                                            $500.00                 $0.00
                                  OPERATIONS DEPTPO BOX
                                  470CATSKILL, NY 12414
   09/03/10                       Transfer from Acct # XXXXXX5555           Bank Funds Transfer                                    9999-000                    $250.00                                       $250.00

   09/03/10           3003        UNITED STATES BANKRUPTCY                  FILING FEES                                            2700-000                                            $250.00                 $0.00
                                  COURTCLERK                                Adversary filing fee for
                                  JAMES T. FOLEY COURTHOUSE445              Adversary #10-90120
                                  BROADWAY, SUITE 330ALBANY,,NY
                                  12207
   09/22/10                       Transfer from Acct # XXXXXX5555           Bank Funds Transfer                                    9999-000                    $210.90                                       $210.90

   09/22/10           3004        THE BANK OF GREENE COUNTY                 BANK RECORD FEES                                       2200-000                                            $210.90                 $0.00
                                  OPERATIONS DEPARTMENTPO BOX
                                  470CATSKILL, NY 12414
   09/23/10                       Transfer from Acct # XXXXXX5555           Bank Funds Transfer                                    9999-000                 $1,284.37                                     $1,284.37

   09/23/10           3005        KTS INC.                                  PAYMENT FOR PROPERTY                                   2420-000                                         $1,284.37                  $0.00
                                  160 OLD ROUTE 209HURLEY, NY               MANAGEMENT
                                  12443
   09/27/10                       Transfer from Acct # XXXXXX5555           Bank Funds Transfer                                    9999-000                 $3,129.76                                     $3,129.76

   09/27/10           3006        BROADWAY PREMIUM FUNDING                  INSURANCE PREMIUMS                                     2420-000                                         $1,116.00             $2,013.76
                                  1747-22 VETERANS MEMORIAL                 RE: BUCKINGHAM VILLAGE &
                                  HIGHWAYISLANDIA, NY 11749                 OLD STONE
   09/27/10           3007        BROADWAY PREMIUM FUNDING                  INSURANCE PREMIUMS                                     2420-000                                         $2,013.76                  $0.00
                                  1747-22 VETERANS MEMORIAL                 RE: FRIAR TUCK RESORTS,
                                  HIGHWAYISLANDIA, NY 11749                 INC.



                                                                                    Page Subtotals:                                                         $5,594.54               $5,594.54
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 09-13311                                                                                           Trustee Name: MARC S. EHRLICH                                                 Exhibit 9
      Case Name: NOTTINGHAM VILLAGE DEVELOPMENT CORP                                                                      Bank Name: Bank of America
                                                                                                                 Account Number/CD#: XXXXXX5649
                                                                                                                                          BofA - Checking Account
  Taxpayer ID No: XX-XXX1684                                                                             Blanket Bond (per case limit): $9,175,000.00
For Period Ending: 07/07/2017                                                                            Separate Bond (if applicable):


       1                2                             3                                             4                                                    5                       6                     7

Transaction Date    Check or                Paid To / Received From                     Description of Transaction              Uniform Tran.       Deposits ($)          Disbursements ($)    Account/CD Balance
                    Reference                                                                                                       Code                                                               ($)
   09/28/10                       Transfer from Acct # XXXXXX5555           Bank Funds Transfer                                  9999-000                 $1,000.00                                     $1,000.00

   09/28/10           3008        CHRISTOPHER JOHNSON                       PAYMENT FOR PROPERTY                                 2990-000                                         $1,000.00                  $0.00
                                  2320 SLEEPY HOLLOW ROAD UNIT              MANAGEMENT AND
                                  2184ATHENS, NY 12015                      REPAIRS
                                                                            LAWN SERVICES FOR
                                                                            WEEKS OF 9/9 AND 9/24
   10/08/10                       Transfer from Acct # XXXXXX5555           Bank Funds Transfer                                  9999-000                    $300.00                                       $300.00

   10/08/10           3009        K.T.S., INC.                              PROCESS SERVICE                                      3992-000                                            $100.00               $200.00
                                  160 Old Route 209Hurley, NY 12443
   10/08/10           3010        K.T.S., INC.                              WATER DAMAGE                                         2420-000                                            $200.00                 $0.00
                                  160 OLD ROUTE 209HURLEY, NY
                                  12443
   10/11/10                       Transfer from Acct # XXXXXX5555           Bank Funds Transfer                                  9999-000               $17,156.12                                    $17,156.12

   10/11/10           3011        THE BANK OF GREENE COUNTY                 REFUND OF CHECK ISSUED                               8500-002                                        $17,156.12                  $0.00
                                                                            TO DEBTOR IN ERROR
   10/27/10                       Transfer from Acct # XXXXXX5555           Bank Funds Transfer                                  9999-000                 $5,200.00                                     $5,200.00

   10/27/10           3012        KTS, INC.                                                                                      2420-000                                         $2,600.00             $2,600.00
                                  160 OLD ROUTE 209HURLEY, NY
                                  12443
   10/27/10           3013        KTS, INC.                                                                                      2420-000                                         $2,600.00                  $0.00
                                  160 OLD ROUTE 209HURLEY, NY
                                  12443
   11/30/10                       Transfer from Acct # XXXXXX5555           Bank Funds Transfer                                  9999-000                 $1,000.00                                     $1,000.00

   11/30/10           3014        CHRISTOPHER JOHNSON                       PAYMENT FOR PROPERTY                                 2990-000                                         $1,000.00                  $0.00
                                  2320 SLEEPY HOLLOW ROADUNIT               MANAGEMENT AND
                                  2184ATHENS, NY 12015                      REPAIRS
   12/09/10                       Transfer from Acct # XXXXXX5555           Bank Funds Transfer                                  9999-000               $11,172.50                                    $11,172.50

   12/09/10           3015        WILLIAM ZERONDA, CPA                      ACCOUNTANT FEES                                      3410-000                                        $11,172.50                  $0.00
                                  LCS&Z, LLP33 CENTURY HILL
                                  DRIVELATHAM, NY 12110



                                                                                  Page Subtotals:                                                       $35,828.62               $35,828.62
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 09-13311                                                                                           Trustee Name: MARC S. EHRLICH                                                   Exhibit 9
      Case Name: NOTTINGHAM VILLAGE DEVELOPMENT CORP                                                                      Bank Name: Bank of America
                                                                                                                 Account Number/CD#: XXXXXX5649
                                                                                                                                          BofA - Checking Account
  Taxpayer ID No: XX-XXX1684                                                                             Blanket Bond (per case limit): $9,175,000.00
For Period Ending: 07/07/2017                                                                            Separate Bond (if applicable):


       1                2                             3                                             4                                                    5                       6                       7

Transaction Date    Check or                Paid To / Received From                     Description of Transaction              Uniform Tran.       Deposits ($)          Disbursements ($)      Account/CD Balance
                    Reference                                                                                                       Code                                                                 ($)
   12/16/10                       Transfer from Acct # XXXXXX5555           Bank Funds Transfer                                  9999-000                 $9,832.39                                       $9,832.39

   12/16/10                       Transfer from Acct # XXXXXX5555           Bank Funds Transfer                                  9999-000                 $3,516.05                                     $13,348.44

   12/16/10                       Reverses Transfer on 12/16/10             Bank Funds Transfer                                  9999-000               ($3,516.05)                                       $9,832.39

   12/16/10                       Reverses Transfer on 12/16/10             Bank Funds Transfer                                  9999-000               ($9,832.39)                                            $0.00

   12/16/10           3019        Reverses Check # 3019                     LEGAL FEES                                           6710-000                                            ($116.05)               $116.05

   12/16/10           3018        Reverses Check # 3018                     LEGAL FEES                                           6700-000                                        ($3,400.00)              $3,516.05

   12/16/10           3017        Reverses Check # 3017                     LEGAL FEES                                           6700-000                                        ($9,597.50)            $13,113.55

   12/16/10           3016        Reverses Check # 3016                     LEGAL FEES                                           6710-000                                            ($234.89)          $13,348.44

   12/16/10           3016        RICHARD WEISKOPF                          LEGAL FEES                                           6710-000                                             $234.89           $13,113.55
                                  O'CONNELL & ARONOWTIZ54 STATE             FEES PER ORDER DATED
                                  STREETALBANY, NY 12207                    JUNE 26, 2008
   12/16/10           3017        RICHARD WEISKOPF                          LEGAL FEES                                           6700-000                                         $9,597.50               $3,516.05
                                  O'CONNELL & ARONOWTIZ54 STATE             PER ORDER DATED JUNE
                                  STREETALBANY, NY 12207                    26, 2008
   12/16/10           3018        RICHARD WEISKOPF                          LEGAL FEES                                           6700-000                                         $3,400.00                  $116.05
                                  O'CONNELL & ARONOWTIZ54 STATE             PER ORDER DATED
                                  STREETALBANY, NY 12207                    DECEMBER 16, 2008
   12/16/10           3019        RICHARD WEISKOPF                          LEGAL FEES                                           6710-000                                             $116.05                  $0.00
                                  O'CONNELL & ARONOWTIZ54 STATE             PER ORDER DATED
                                  STREETALBANY, NY 12207                    DECEMBER 16, 2008
   12/20/10                       Transfer from Acct # XXXXXX5555           Bank Funds Transfer                                  9999-000                 $2,038.76                                       $2,038.76

   12/20/10                       Transfer from Acct # XXXXXX5555           Bank Funds Transfer                                  9999-000                 $1,141.00                                       $3,179.76

   12/20/10           3020        BROADWAY PREMIUM FUNDING                  INSURANCE PREMIUMS FOR                               2420-000                                         $2,038.76               $1,141.00
                                  1747-22 VETERANS MEMORIAL                 FRIAR TUCK RESORTS, INC.
                                  HIGHWAYISLANDIA, NY 11749                 23894-0001-1219055



                                                                                  Page Subtotals:                                                         $3,179.76               $2,038.76
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 09-13311                                                                                           Trustee Name: MARC S. EHRLICH                                                 Exhibit 9
      Case Name: NOTTINGHAM VILLAGE DEVELOPMENT CORP                                                                      Bank Name: Bank of America
                                                                                                                 Account Number/CD#: XXXXXX5649
                                                                                                                                          BofA - Checking Account
  Taxpayer ID No: XX-XXX1684                                                                             Blanket Bond (per case limit): $9,175,000.00
For Period Ending: 07/07/2017                                                                            Separate Bond (if applicable):


       1                2                             3                                             4                                                    5                       6                     7

Transaction Date    Check or                Paid To / Received From                     Description of Transaction              Uniform Tran.       Deposits ($)          Disbursements ($)    Account/CD Balance
                    Reference                                                                                                       Code                                                               ($)
   12/20/10           3021        BROADWAY PREMIUM FUNDING                  INSURANCE PREMIUMS FOR                               2420-000                                         $1,141.00                  $0.00
                                  1747-22 VETERANS MEMORIAL                 BUCKINGHAM VILLAGE &
                                  HIGHWAYISLANDIA, NY 11749                 OLD STONE
   01/07/11                       Transfer from Acct # XXXXXX5555           Bank Funds Transfer                                  9999-000                    $250.00                                       $250.00

   01/07/11           3022        UNITED STATES BANKRUPTCY                  FILING FEES                                          2700-000                                            $250.00                 $0.00
                                  COURTCLERK                                Adversary 10-90187
                                  JAMES T. FOLEY COURTHOUSE445
                                  BROADWAY, SUITE 330ALBANY,,NY
                                  12207
   01/14/11                       Transfer from Acct # XXXXXX5555           Bank Funds Transfer                                  9999-000                    $250.00                                       $250.00

   01/14/11           3023        UNITED STATES BANKRUPTCY                  FILING FEES                                          2700-000                                            $250.00                 $0.00
                                  COURTCLERK                                Adversary 11-90006
                                  JAMES T. FOLEY COURTHOUSE445
                                  BROADWAY, SUITE 330ALBANY,,NY
                                  12207
   03/01/11                       Transfer from Acct # XXXXXX5555           Bank Funds Transfer                                  9999-000               $19,810.67                                    $19,810.67

   03/01/11           3024        CAPITAL PUBLIC ADJUSTERS, INC.       COMPENSATION PURSUANT                                     8500-002                                        $19,810.67                  $0.00
                                  Pine West PlazaOne Washington Avenue TO ORDER COMPENSATION
                                  ExtensionAlbany, NY 12205            PURSUANT TO ORDER
                                                                       PER ORDER DATED 2/18/11
                                                                       IN ADVERSARY CASE 10-
                                                                       90174
   03/15/11                       Transfer from Acct # XXXXXX5555           Bank Funds Transfer                                  9999-000                     $19.00                                        $19.00

   03/15/11           3025        NEW YORK STATE CORPORATION                2010 NYS CORPORATION                                 2820-000                                             $19.00                 $0.00
                                  TAX                                       TAX FORM CT-4

   04/07/11                       Transfer from Acct # XXXXXX5555           Bank Funds Transfer                                  9999-000               $22,168.97                                    $22,168.97

   04/07/11           3026        WILLIAM R. SEIDE AGENCY LLC               INSURANCE PREMIUMS                                   2420-000                                         $6,063.24           $16,105.73
                                  913 RT 23 SOUTHPOMPTON PLAINS,
                                  NJ 07444
   04/07/11           3027        WILLIAM R. SEIDE AGENCY LLC               INSURANCE PREMIUMS                                   2420-000                                        $16,105.73                  $0.00
                                  913 RT 23 SOUTHPOMPTON PLAINS,
                                  NJ 07444

                                                                                  Page Subtotals:                                                       $42,498.64               $43,639.64
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 09-13311                                                                                            Trustee Name: MARC S. EHRLICH                                                 Exhibit 9
      Case Name: NOTTINGHAM VILLAGE DEVELOPMENT CORP                                                                       Bank Name: Bank of America
                                                                                                                  Account Number/CD#: XXXXXX5649
                                                                                                                                           BofA - Checking Account
  Taxpayer ID No: XX-XXX1684                                                                              Blanket Bond (per case limit): $9,175,000.00
For Period Ending: 07/07/2017                                                                             Separate Bond (if applicable):


       1                2                             3                                              4                                                    5                       6                     7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)          Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                               ($)
   05/31/11                       Transfer from Acct # XXXXXX5555            Bank Funds Transfer                                  9999-000                 $4,240.30                                     $4,240.30

   05/31/11           3028        CAPITAL PUBLIC ADJUSTERS              LITIGATION PURSUANT TO                                    8500-002                                         $4,240.30                  $0.00
                                  Attn: PresidentPine West PlazaOne     ORDER IN ADVERSARY 10-
                                  Washington Avenue ExtensionAlbany, NY 90174
                                  12205
   06/24/11                       Transfer from Acct # XXXXXX5555            Bank Funds Transfer                                  9999-000              $340,251.05                                   $340,251.05

   06/24/11           3029        ULSTER SAVINGS BANK                                                                             8500-002                                       $319,162.47           $21,088.58

   06/24/11           3030        ULSTER SAVINGS BANK                        INTEREST                                             8500-002                                             $88.58          $21,000.00

   06/24/11           3031        CHRISTIAN H. DRIBUSCH F/B/O                                                                     8500-002                                        $17,000.00             $4,000.00
                                  Friar Tuck Inn of the Catskill, Inc.The
                                  Patroon Bldg. Five Clinton SquareAlbany,
                                  NY 12207
   06/24/11           3032        FRIAR TUCK RESORTS, INC.                   PER ORDER                                            8100-000                                         $4,000.00                  $0.00

   06/29/11           3032        Reverses Check # 3032                      Stop Payment Reversal                                8100-000                                        ($4,000.00)            $4,000.00
                                                                             STOP PAY ADD
                                                                             SUCCESSFUL
   07/05/11           3033        NOLAN & HELLER, LLP,                       SETTLEMENT                                           8500-002                                         $4,000.00                  $0.00
                                  Counsel to Friar Tuck Resorts, Inc.39
                                  North Pearl StreetAlbany, NY 12207
   07/19/11                       Transfer from Acct # XXXXXX5555            Bank Funds Transfer                                  9999-000                 $1,322.56                                     $1,322.56

   07/19/11           3034        RANDY PASSONNO                          AUCTIONEERS FEES                                        3610-000                                         $1,322.56                  $0.00
                                  Collar City Auctions Realty& Management per order dated 7/8/11
                                  Inc.9423 Western TurnpikeDelanson, NY
                                  12053
   09/19/11                       Transfer from Acct # XXXXXX5555            Bank Funds Transfer                                  9999-000                    $500.00                                       $500.00

   09/19/11           3035        UNITED STATES BANKRUPTCY                   FILING FEES                                          2700-000                                            $250.00               $250.00
                                  COURTCLERK                                 11-90086
                                  JAMES T. FOLEY COURTHOUSE445
                                  BROADWAY, SUITE 330ALBANY,,NY
                                  12207


                                                                                   Page Subtotals:                                                      $346,313.91              $346,063.91
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 09-13311                                                                                            Trustee Name: MARC S. EHRLICH                                               Exhibit 9
      Case Name: NOTTINGHAM VILLAGE DEVELOPMENT CORP                                                                      Bank Name: Bank of America
                                                                                                                 Account Number/CD#: XXXXXX5649
                                                                                                                                         BofA - Checking Account
  Taxpayer ID No: XX-XXX1684                                                                            Blanket Bond (per case limit): $9,175,000.00
For Period Ending: 07/07/2017                                                                           Separate Bond (if applicable):


       1                2                             3                                             4                                                   5                       6                     7

Transaction Date    Check or                Paid To / Received From                    Description of Transaction              Uniform Tran.       Deposits ($)          Disbursements ($)    Account/CD Balance
                    Reference                                                                                                      Code                                                               ($)
   09/19/11           3036        UNITED STATES BANKRUPTCY                  FILING FEES                                          2700-000                                           $250.00                $0.00
                                  COURTCLERK                                11-90086
                                  JAMES T. FOLEY COURTHOUSE445
                                  BROADWAY, SUITE 330ALBANY,,NY
                                  12207


                                                                                                           COLUMN TOTALS                              $433,415.47              $433,415.47
                                                                                                                 Less: Bank Transfers/CD's            $433,415.47                     $0.00
                                                                                                           Subtotal                                          $0.00             $433,415.47
                                                                                                                 Less: Payments to Debtors                   $0.00                    $0.00
                                                                                                           Net                                               $0.00             $433,415.47




                                                                                  Page Subtotals:                                                            $0.00                  $250.00
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 09-13311                                                                                               Trustee Name: MARC S. EHRLICH                                               Exhibit 9
      Case Name: NOTTINGHAM VILLAGE DEVELOPMENT CORP                                                                         Bank Name: EmpireNationalBank
                                                                                                                 Account Number/CD#: XXXXXX9836
                                                                                                                                            Checking Account
  Taxpayer ID No: XX-XXX1684                                                                             Blanket Bond (per case limit): $9,175,000.00
For Period Ending: 07/07/2017                                                                            Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                     Description of Transaction                  Uniform Tran.     Deposits ($)          Disbursements ($)    Account/CD Balance
                    Reference                                                                                                           Code                                                             ($)
   09/06/12                       Trsf In From Bank of America, N.A.        INITIAL WIRE TRANSFER IN                                 9999-000            $155,499.83                                   $155,499.83

   09/14/12          300001       NYS DEPT OF TAXATION & FINANCE            2011 Tax Return                                          2820-000                                           $25.00         $155,474.83
                                  Corp-VPO Box 15163Albany, NY 12212
   10/09/12                       STEPHEN CARIDI                            SETTLEMENT                                                                    $20,000.00                                   $175,474.83

                                                                            Gross Receipts                            $20,000.00

                       32                                                   PREFERENTIAL TRANSFER                      $2,500.00     1241-000
                                                                            AGAINST RICKY CARIDI
                       33                                                   PR AGAINST STEVEN CARIDI                  $17,500.00     1241-000

   11/05/12          300002       MARC S. EHRLICH, TRUSTEE                  Trustee Bond Premium Trustee                             2300-000                                          $114.71         $175,360.12
                                  64 SECOND STREETTROY, NY 12180            Bond Premium
   12/28/12            33         STEPHEN CARIDI                            PREFERENTIAL TRANSFER                                    1241-000             $15,000.00                                   $190,360.12
                                  Ricky Caridi                              OR FRAUDULENT
                                                                            CONVEYANCE
   02/08/13          300003       BK ATTORNEY SERVICES, LLC                 SERVICE                                                  2200-000                                       $1,292.99          $189,067.13
                                  6600 W. Deschutes Ave., Bldg.
                                  BKennewick, WA 99336
   03/19/13          300004       WILLIAM ZERONDA, CPA                   ACCOUNTANT FEES                                             3410-000                                      $12,671.50          $176,395.63
                                  LCS&Z, LLP33 Century Hill DriveLatham,
                                  NY 12110
   03/19/13          300005       EHRLICH & ARCODIA, PC                     LEGAL FEES                                                                                             $18,919.20          $157,476.43
                                  64 Second StreetTroy, NY 12180
                                  MARC EHRLICH LAW FIRM PC                                                           ($18,180.00)    3110-000

                                  MARC S. EHRLICH                                                                      ($739.20)     2200-000

   03/19/13          300006       DEILY, MOONEY & GLASTETTER, LLP           LEGAL FEES                                                                                            $150,329.29             $7,147.14
                                  8 Thurlow TerraceAlbany, NY 12203
                                  P. C., DEILY GLASTETTER                                                        ($144,152.50)       3210-000

                                  P. C., DEILY GLASTETTER                                                             ($6,176.79)    3220-000




                                                                                  Page Subtotals:                                                        $190,499.83              $183,352.69
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 09-13311                                                                                            Trustee Name: MARC S. EHRLICH                                                 Exhibit 9
      Case Name: NOTTINGHAM VILLAGE DEVELOPMENT CORP                                                                       Bank Name: EmpireNationalBank
                                                                                                                  Account Number/CD#: XXXXXX9836
                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX1684                                                                              Blanket Bond (per case limit): $9,175,000.00
For Period Ending: 07/07/2017                                                                             Separate Bond (if applicable):


       1                2                             3                                               4                                                   5                       6                     7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)          Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                               ($)
   09/16/13          300007       NEW YORK STATE CORPORATION                TAXES                                                 2820-000                                             $76.00            $7,071.14
                                  TAX
                                  NYS Dept of Taxation & FinanceCorp-
                                  VPO Box 15163Albany, NY 12212-5163
   10/25/13          300008       MARC S. EHRLICH, TRUSTEE                  Trustee Bond Premium                                  2300-000                                              $5.91            $7,065.23
                                  64 SECOND STREETTROY, NY 12180
   01/13/14             2         DEILY & GLASTETTER, LLP                PREFERENTIAL TRANSFER                                    1110-000               $10,000.00                                    $17,065.23
                                  8 Thurlow TerraceAlbany, NY 12203-1006 OR FRAUDULENT
                                                                         CONVEYANCE
   03/17/14          300009       NEW YORK STATE CORPORATION                TAXES                                                 2820-000                                              $2.00          $17,063.23
                                  TAX

   08/01/14                       Empire National Bank                      BANK SERVICE FEE                                      2600-000                                             $14.22          $17,049.01

   09/02/14                       Empire National Bank                      BANK SERVICE FEE                                      2600-000                                             $14.21          $17,034.80

   10/01/14                       Empire National Bank                      BANK SERVICE FEE                                      2600-000                                             $14.20          $17,020.60

   10/27/14          300010       MARC S. EHRLICH, TRUSTEE                  Blanket bond disbursement                             2300-000                                             $13.66          $17,006.94
                                  64 Second StreetTroy, NY 12180
   11/03/14                       Empire National Bank                      BANK SERVICE FEE                                      2600-000                                             $14.18          $16,992.76

   12/01/14                       Empire National Bank                      BANK SERVICE FEE                                      2600-000                                             $14.16          $16,978.60

   01/02/15                       Empire National Bank                      BANK SERVICE FEE                                      2600-000                                             $14.15          $16,964.45

   02/02/15                       Empire National Bank                      BANK SERVICE FEE                                      2600-000                                             $24.74          $16,939.71

   02/12/15          300011       NEW YORK STATE CORPORATION                TAXES                                                 2820-000                                             $25.00          $16,914.71
                                  TAX

   03/02/15                       Empire National Bank                      BANK SERVICE FEE                                      2600-000                                             $24.69          $16,890.02

   04/01/15                       Empire National Bank                      BANK SERVICE FEE                                      2600-000                                             $24.63          $16,865.39




                                                                                    Page Subtotals:                                                      $10,000.00                   $281.75
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 09-13311                                                                                            Trustee Name: MARC S. EHRLICH                                                 Exhibit 9
      Case Name: NOTTINGHAM VILLAGE DEVELOPMENT CORP                                                                       Bank Name: EmpireNationalBank
                                                                                                                  Account Number/CD#: XXXXXX9836
                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX1684                                                                              Blanket Bond (per case limit): $9,175,000.00
For Period Ending: 07/07/2017                                                                             Separate Bond (if applicable):


       1                2                             3                                               4                                                   5                       6                     7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)          Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                               ($)
   05/01/15                       Empire National Bank                      BANK SERVICE FEE                                      2600-000                                             $24.60          $16,840.79

   06/01/15                       EmpireNationalBank                        Bank Service Fee under 11                             2600-000                                             $24.56          $16,816.23
                                                                            U.S.C. 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   07/01/15                       EmpireNationalBank                        Bank Service Fee under 11                             2600-000                                             $24.52          $16,791.71
                                                                            U.S.C. 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   08/03/15                       EmpireNationalBank                        Bank Service Fee under 11                             2600-000                                             $24.49          $16,767.22
                                                                            U.S.C. 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   08/22/15            34         Peggy Ann Caridi Rev. Trust               Preferential Fraudulent                               1141-000                 $5,000.00                                   $21,767.22
                                  Peggy Ann Caridi                          Transfer Litigation
                                  and Frank Caridi Jr. Ttees.
   09/01/15                       EmpireNationalBank                        Bank Service Fee under 11                             2600-000                                             $26.34          $21,740.88
                                                                            U.S.C. 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   09/22/15            34         John V Bivona, Esq                        Preferential Transfer Frank                           1241-000                 $5,000.00                                   $26,740.88
                                  Attorney's Escrow Account                 Caridi
                                  200 Park Avenue
                                  Suite 1700
                                  New York, NY 10166
   10/01/15                       EmpireNationalBank                        Bank Service Fee under 11                             2600-000                                             $33.89          $26,706.99
                                                                            U.S.C. 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   10/02/15            34         Peggy Ann Caridi Rev. Trust               Preferential Transfer                                 1241-000                 $5,000.00                                   $31,706.99
                                  Peggy Ann Caridi
                                  and Frank Caridi, Jr, Ttees.
   11/02/15                       EmpireNationalBank                        Bank Service Fee under 11                             2600-000                                             $46.00          $31,660.99
                                                                            U.S.C. 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   11/03/15          300012       MARC S. EHRLICH                           Bond Disbursement November                            2300-000                                             $15.35          $31,645.64
                                  64 SECOND STREET                          2015
                                  TROY, NY 12180
   11/05/15            34         Peggy Ann Caridi Rev. Trust               adversary proceeding                                  1241-000                 $5,000.00                                   $36,645.64
                                  Peggy Ann Caridi
                                  and Frank Caridi Jr, Ttees.


                                                                                   Page Subtotals:                                                       $20,000.00                   $219.75
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 09-13311                                                                                            Trustee Name: MARC S. EHRLICH                                                 Exhibit 9
      Case Name: NOTTINGHAM VILLAGE DEVELOPMENT CORP                                                                       Bank Name: EmpireNationalBank
                                                                                                                  Account Number/CD#: XXXXXX9836
                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX1684                                                                              Blanket Bond (per case limit): $9,175,000.00
For Period Ending: 07/07/2017                                                                             Separate Bond (if applicable):


       1                2                             3                                               4                                                   5                       6                     7

Transaction Date    Check or                Paid To / Received From                      Description of Transaction              Uniform Tran.       Deposits ($)          Disbursements ($)    Account/CD Balance
                    Reference                                                                                                        Code                                                               ($)
   12/01/15                       EmpireNationalBank                        Bank Service Fee under 11                             2600-000                                             $52.48          $36,593.16
                                                                            U.S.C. 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   12/08/15            34         Peggy Ann Caridi Rev.Trust                Preferential Fraudulent                               1241-000                 $5,000.00                                   $41,593.16
                                  Peggy Ann Caridi                          Transfer Litigation
                                  and Frank Caridi Jr, Ttees.
   01/04/16                       EmpireNationalBank                        Bank Service Fee under 11                             2600-000                                             $59.01          $41,534.15
                                                                            U.S.C. 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   01/07/16            34         Peggy Ann Caridi Rev. Trust               Preferential Fraudulent                               1241-000                 $5,000.00                                   $46,534.15
                                  Peggy Ann Caridi                          Transfer Litigation
                                  and Frank Caridi Jr, Ttees.
   02/01/16                       EmpireNationalBank                        Bank Service Fee under 11                             2600-000                                             $66.46          $46,467.69
                                                                            U.S.C. 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   02/06/16            34         Peggy Ann Caridi Rev. Trust               Preferential Transfer Frank                           1241-000                 $5,000.00                                   $51,467.69
                                  Peggy Ann Caridi and Frank Caridi Jr,     Caridi
                                  Ttees.                                    Check was deposited 2/6, but
                                                                            not entered in EPIQ. They will
                                                                            be changing the date from 3/8
                                                                            to 2/6/16.
   03/01/16                       EmpireNationalBank                        Bank Service Fee under 11                             2600-000                                             $73.30          $51,394.39
                                                                            U.S.C. 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   03/08/16            34         Peggy Ann Caridi Rev. Trust               Preferential Transfer                                 1241-000                 $5,000.00                                   $56,394.39
                                  Peggy Ann Caridi and Frank Caridi Jr,
                                  Ttees.
   03/12/16          300013       New York State Corporation Tax            Taxes                                                 2820-000                                             $25.00          $56,369.39

   04/01/16                       EmpireNationalBank                        Bank Service Fee under 11                             2600-000                                             $80.58          $56,288.81
                                                                            U.S.C. 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   04/05/16            34         Peggy Ann Caridi Rev. Trust               Preferential Transfer                                 1241-000                 $5,000.00                                   $61,288.81
                                  Peggy Ann Caridi and Frank Caridi Jr,
                                  Ttees.
   04/28/16            34         Peggy Ann Caridi Rev. Trust               Preferential Transfer                                 1241-000                 $5,000.00                                   $66,288.81
                                  Peggy Ann Caridi and Frank Caridi Jr,
                                  Ttees.

                                                                                    Page Subtotals:                                                      $30,000.00                   $356.83
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 09-13311                                                                                               Trustee Name: MARC S. EHRLICH                                                 Exhibit 9
      Case Name: NOTTINGHAM VILLAGE DEVELOPMENT CORP                                                                          Bank Name: EmpireNationalBank
                                                                                                                    Account Number/CD#: XXXXXX9836
                                                                                                                                              Checking Account
  Taxpayer ID No: XX-XXX1684                                                                                 Blanket Bond (per case limit): $9,175,000.00
For Period Ending: 07/07/2017                                                                                Separate Bond (if applicable):


       1                2                             3                                               4                                                      5                       6                     7

Transaction Date    Check or                Paid To / Received From                       Description of Transaction                Uniform Tran.       Deposits ($)          Disbursements ($)    Account/CD Balance
                    Reference                                                                                                           Code                                                               ($)
   05/02/16                       EmpireNationalBank                        Bank Service Fee under 11                                2600-000                                             $89.14          $66,199.67
                                                                            U.S.C. 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   06/01/16                       EmpireNationalBank                        Bank Service Fee under 11                                2600-000                                             $96.55          $66,103.12
                                                                            U.S.C. 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   07/01/16                       EmpireNationalBank                        Bank Service Fee under 11                                2600-000                                             $96.40          $66,006.72
                                                                            U.S.C. 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   08/01/16                       EmpireNationalBank                        Bank Service Fee under 11                                2600-000                                             $96.26          $65,910.46
                                                                            U.S.C. 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   09/01/16                       EmpireNationalBank                        Bank Service Fee under 11                                2600-000                                             $96.12          $65,814.34
                                                                            U.S.C. 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   09/23/16          300014       New York State Corporation Tax            Taxes                                                    2820-000                                             $25.00          $65,789.34
                                  Processing Unit
                                  P.O. Box 15181
                                  Albany, NY 12212-5181
   10/03/16                       EmpireNationalBank                        Bank Service Fee under 11                                2600-000                                             $95.98          $65,693.36
                                                                            U.S.C. 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   11/01/16                       EmpireNationalBank                        Bank Service Fee under 11                                2600-000                                             $95.81          $65,597.55
                                                                            U.S.C. 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   12/01/16                       EmpireNationalBank                        Bank Service Fee under 11                                2600-000                                             $95.66          $65,501.89
                                                                            U.S.C. 330(a)(1)(B), 503(b)
                                                                            (1), and 507(a)(2)
   02/14/17          300015       MARC S. EHRLICH                           Final distribution representing a                        2100-000                                        $18,587.48           $46,914.41
                                  64 SECOND STREET                          payment of 100.00 % per court
                                  TROY, NY 12180                            order.
   02/14/17          300016       MARC S. EHRLICH                           Final distribution representing a                        2200-000                                            $453.49          $46,460.92
                                  64 SECOND STREET                          payment of 100.00 % per court
                                  TROY, NY 12180                            order.
   02/14/17          300017       U.S. Trustee                              Final distribution to claim 28                           2950-000                                            $650.00          $45,810.92
                                  U.S. Department Of Justice                representing a payment of
                                  74 Chapel Street, Suite 200               100.00 % per court order.
                                  Albany, Ny 12207

                                                                                    Page Subtotals:                                                               $0.00              $20,477.89
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 09-13311                                                                                               Trustee Name: MARC S. EHRLICH                                                 Exhibit 9
      Case Name: NOTTINGHAM VILLAGE DEVELOPMENT CORP                                                                          Bank Name: EmpireNationalBank
                                                                                                                    Account Number/CD#: XXXXXX9836
                                                                                                                                              Checking Account
  Taxpayer ID No: XX-XXX1684                                                                                 Blanket Bond (per case limit): $9,175,000.00
For Period Ending: 07/07/2017                                                                                Separate Bond (if applicable):


       1                2                             3                                               4                                                      5                       6                     7

Transaction Date    Check or                Paid To / Received From                       Description of Transaction                Uniform Tran.       Deposits ($)          Disbursements ($)    Account/CD Balance
                    Reference                                                                                                           Code                                                               ($)
   02/14/17          300018       MARC EHRLICH LAW FIRM PC                  Final distribution representing a                        3110-000                                            $420.00          $45,390.92
                                  64 Second Street                          payment of 100.00 % per court
                                  Troy Ny, 12180                            order.
   02/14/17          300019       DEILY GLASTETTER P. C.                    Final distribution representing a                        3210-000                                        $32,132.00           $13,258.92
                                                                            payment of 100.00 % per court
                                                                            order.
   02/14/17          300020       DEILY GLASTETTER P. C.                    Final distribution representing a                        3220-000                                         $1,943.00           $11,315.92
                                                                            payment of 100.00 % per court
                                                                            order.
   02/14/17          300021       WILLIAM A. ZERONDA, CPA                   Final distribution representing a                        3410-000                                         $5,665.05             $5,650.87
                                                                            payment of 100.00 % per court
                                                                            order.
   02/14/17          300022       State Of New York Dept. Of Labor          Final distribution to claim 12                           6820-000                                            $403.20            $5,247.67
                                  Unemployment Insurance Division           representing a payment of
                                  Governor W. Averell Harriman              100.00 % per court order.
                                  State Office Bldg. Campus Bldg.12,Rm
                                  256
                                  Albany, Ny 12240
   02/14/17          300023       Nys Department Of Taxation And Finance Final distribution to claim 9                               5800-000                                            $682.06            $4,565.61
                                  Bankruptcy Section                     representing a payment of
                                  Po Box 5300                            100.00 % per court order.
                                  Albany, Ny 12205-0300
   02/14/17          300024       Main Care Energy                          Final distribution to claim 1                            7100-000                                            $281.68            $4,283.93
                                  Po Box 11029                              representing a payment of 5.46
                                  Albany, Ny 12211                          % per court order.
   02/14/17          300025       Central Hudson Gas & Electric             Final distribution to claim 3                            7100-000                                            $633.37            $3,650.56
                                  284 South Avenue                          representing a payment of 5.46
                                  Poughkeepsie, Ny 12601                    % per court order.
   02/14/17          300026       Ipfs Corporation As Successor In          Final distribution to claim 6                            7100-000                                             $24.34            $3,626.22
                                  Interest To Aicco, Inc.                   representing a payment of 5.46
                                  Imperial Credit Corporation               % per court order.
                                  101 Hudson Street, 34Th Floor
                                  Jersey City, Nj 07302
   02/14/17          300027       Nys Department Of Taxation And Finance Final distribution to claim 9                               7100-000                                              $7.68            $3,618.54
                                  Bankruptcy Section                     representing a payment of 5.46
                                  Po Box 5300                            % per court order.
                                  Albany, Ny 12205-0300



                                                                                    Page Subtotals:                                                               $0.00              $42,192.38
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 09-13311                                                                                              Trustee Name: MARC S. EHRLICH                                                 Exhibit 9
      Case Name: NOTTINGHAM VILLAGE DEVELOPMENT CORP                                                                        Bank Name: EmpireNationalBank
                                                                                                                 Account Number/CD#: XXXXXX9836
                                                                                                                                           Checking Account
  Taxpayer ID No: XX-XXX1684                                                                             Blanket Bond (per case limit): $9,175,000.00
For Period Ending: 07/07/2017                                                                            Separate Bond (if applicable):


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Transaction Date    Check or                Paid To / Received From                     Description of Transaction                 Uniform Tran.     Deposits ($)          Disbursements ($)      Account/CD Balance
                    Reference                                                                                                          Code                                                               ($)
   02/14/17          300028       N&S Supply                                Final distribution to claim 13                          7100-000                                            $17.92             $3,600.62
                                  205 Route 9                               representing a payment of 5.46
                                  Fishkill, Ny 12524                        % per court order.
   02/14/17          300029       Hsbc Bank Usa, N.A.                       Final distribution to claim 14                          7100-000                                       $1,396.85               $2,203.77
                                  Po Box 2103                               representing a payment of 5.46
                                  Buffalo, Ny 14240                         % per court order.
   02/14/17          300030       New York State Workers''                  Final distribution to claim 15                          7100-000                                       $2,184.19                   $19.58
                                  Compensation Board                        representing a payment of 5.46
                                  Finance Unit 20 Rm                        % per court order.
                                  301 Park St.
                                  Albany Ny 12207
   02/14/17          300031       Hsbc Bank Usa, N.A.                       Final distribution to claim 18                          7100-000                                            $12.34                  $7.24
                                  Po Box 2103                               representing a payment of 5.46
                                  Buffalo, Ny 14240                         % per court order.
   02/14/17          300032       Hsbc Bank Usa, N.A.                       Final distribution to claim 19                          7100-000                                             $7.24                  $0.00
                                  Po Box 2103                               representing a payment of 5.46
                                  Buffalo, Ny 14240                         % per court order.
   06/23/17          300030       New York State Workers''                  Final distribution to claim 15                          7100-001                                      ($2,184.19)              $2,184.19
                                  Compensation Board                        representing a payment of 5.46
                                  Finance Unit 20 Rm                        % per court order. Reversal
                                  301 Park St.
                                  Albany Ny 12207
   06/23/17          300026       Ipfs Corporation As Successor In          Final distribution to claim 6                           7100-001                                           ($24.34)            $2,208.53
                                  Interest To Aicco, Inc.                   representing a payment of 5.46
                                  Imperial Credit Corporation               % per court order. Reversal
                                  101 Hudson Street, 34Th Floor
                                  Jersey City, Nj 07302
   06/23/17          300024       Main Care Energy                          Final distribution to claim 1                           7100-001                                          ($281.68)            $2,490.21
                                  Po Box 11029                              representing a payment of 5.46
                                  Albany, Ny 12211                          % per court order. Reversal
   06/23/17          300033       CLERK, U.S. BANKRUPTCY COURT              Remit To Court                                                                                         $2,490.21                    $0.00
                                  JAMES T. FOLEY U.S. COURTHOUSE
                                  445 BROADWAY, SUITE 330
                                  ALBANY, NEW YORK 12207
                                  New York State Workers''                  Final distribution to claim 15           ($2,184.19)    7100-001
                                                                            representing a payment of 5.46
                                                                            % per court order.



                                                                                   Page Subtotals:                                                             $0.00               $3,618.54
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                                                                      ESTATE CASH RECEIPTS AND DISBURSEMENTS
           Case No: 09-13311                                                                                               Trustee Name: MARC S. EHRLICH                                               Exhibit 9
      Case Name: NOTTINGHAM VILLAGE DEVELOPMENT CORP                                                                         Bank Name: EmpireNationalBank
                                                                                                                   Account Number/CD#: XXXXXX9836
                                                                                                                                            Checking Account
  Taxpayer ID No: XX-XXX1684                                                                             Blanket Bond (per case limit): $9,175,000.00
For Period Ending: 07/07/2017                                                                            Separate Bond (if applicable):


       1                2                             3                                              4                                                     5                       6                     7

Transaction Date    Check or                Paid To / Received From                     Description of Transaction                  Uniform Tran.     Deposits ($)          Disbursements ($)    Account/CD Balance
                    Reference                                                                                                           Code                                                             ($)
                                  Ipfs Corporation As Successor In          Final distribution to claim 6                ($24.34)    7100-001
                                                                            representing a payment of 5.46
                                                                            % per court order.
                                  Main Care Energy                          Final distribution to claim 1               ($281.68)    7100-001
                                                                            representing a payment of 5.46
                                                                            % per court order.


                                                                                                             COLUMN TOTALS                               $250,499.83              $250,499.83
                                                                                                                   Less: Bank Transfers/CD's             $155,499.83                     $0.00
                                                                                                             Subtotal                                     $95,000.00              $250,499.83
                                                                                                                   Less: Payments to Debtors                    $0.00                    $0.00
                                                                                                             Net                                          $95,000.00              $250,499.83




                                                                                   Page Subtotals:                                                              $0.00                    $0.00
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                                                                                                                                                             Exhibit 9
                                                                                       TOTAL OF ALL ACCOUNTS
                                                                                                                                        NET             ACCOUNT
                                                                                                     NET DEPOSITS        DISBURSEMENTS                   BALANCE
                                            XXXXXX5555 - Checking Account                                $591,318.56               $2,403.26                 $0.00

                                            XXXXXX5649 - BofA - Checking Account                                $0.00           $433,415.47                  $0.00

                                            XXXXXX9836 - Checking Account                                 $95,000.00            $250,499.83                  $0.00

                                                                                                         $686,318.56            $686,318.56                  $0.00

                                                                                                    (Excludes account    (Excludes payments     Total Funds on Hand
                                                                                                            transfers)            to debtors)
                                            Total Allocation Receipts:                  $1,889.12
                                            Total Net Deposits:                       $686,318.56
                                            Total Gross Receipts:                     $688,207.68




                                                                    Page Subtotals:                                        $0.00                $0.00
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